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(Cite as: 2007 WL 1804340 (M.D.Pa.))

‘Only the Westlaw citation is currently available.

United States District Court, _
M.D. Pennsylvania.
Christopher FURNARI, Petitioner
‘ v.
UNITED STATES PAROLE COMMISSION, et
al., Respondents.

No. 4:CV-06-0342.
June 20, 2007.

ORDER
MALCOLM MUIR, United States District Judge.

*] Christopher Furnari, an inmate presently
confined in the Allenwood Federal Correctional In-
stitution, White Deer, Pennsylvania
(FCI-Allenwood) filed this counseled petition for
writ of habeas corpus pursuant to 28 U.S.C. § 2241.
Furnari challenges a November 23, 2005. decision
of the United States Parole Commission denying
him release on parole. (Doc. No. 1, petition), The
instant action is Furnari's fourth habeas corpus peti-
tion challenging some aspect of a Parole Commis-
sion decision. For the reasons set forth below, the
petition will be denied.

- Background

Furnari is serving a 100-year sentence for rack-
eteering, extortion, and racketeering conspiracy,
imposed by the United States District Court for the
Southern District of New York on January 13,
1987. According to the United States Court of Ap-
‘ peals for the Second Circuit, Furnari was the
“consigliere” (counselor) of the Lucchese organized
crime family, a position identified as “practically
the equivalent of the underboss”. See United States
v. Salerno, 868 F.2d 524, 543 (2d Cir.1989), Furn-
ari's conviction grew out of his participation in “the
Commission”, a national ruling body of La Cosa
Nostra (Mafia) in the United States, the activities of
which. included the extortion and other racketeering
acts which underlie his conviction. (/d.).

On December 3, 1996, Furnari's initial parole
hearing was conducted. By Notice of Action dated
January 8, 1997, the Regional Commissioner adop-
ted the hearing examiner's recommendation that
Furnari be required to serve to a fifteen-year recon-
sideration hearing in December, 2011. (Doc. No. 4,
Ex. C, Notice of Action). On August 19, 1997, the
National Appeals Board affirmed that decision.
(Doc. No. 4, Ex. D, Notice of Action on Appeal).
The National Appeals Board found that:

You have properly been held accountable for
murders committed to further the purposes of the
Lucchese or other crime families. At a minimum,
as the capo of a crew in the Lucchese family, you
were in a position to be informed of murders
ordered by the boss of the family. Given the hier-
archical nature of the organization, it is likely
that you directed the murderous acts of your crew
members. And, in fact, the Parole Commission
finds the information from the. U.S. Attorney's
Office on your personal responsibility for several
of the murders (victims Schleifer, Taglianetti,
and DeCicco) and attempted murder (victim
Abinanti) to be credible and reliable, even though
much of the information may have come from

. Anthony Casso, one of the most violent members
of your organization. Reliable information on
crimes committed through La Cosa Nostra activ-
ities has been provided by members of the crim-
inal organization, including those who have com-
mitted violent crimes. Even if Casso has contin-
ued to commit or plot other crimes after his de-
briefing by federal law enforcement, this does not
disqualify him as a reliable source concerning
your criminal activities within the Lucchese fam-
ily. In many cases, Casso's information is corrob-
orated by information from other sources such as
Carew and D'Arco.

*2 Your parole denial is warranted because you
approved or participated in the planning of a con-
tract murder. (Taglianetti), the murder of a poten-
tial informant/witness (Schleifer), and a murder

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and attempted murder to: further the aims of an
on-going criminal organization (DeCicco and

' Abinanti, respectively). Any one of these crimes
would support a parole denial. There are no mit-
igating factors, including your age, that justify
your parole when weighed against the aggravated
nature of the crimes.

Id.

On February 11, 1998, Furnari filed his first
petition for writ of habeas corpus before this Court.
See Furnari v. Warden, Civil Action No.
4:98-CV-0222 (M.D.Pa. Feb. 11, 1998). In that pe-
tition, Furnari claimed that his rights to due pro-
cess, as well as the statutory rights afforded him by
the Federal statutes and regulations governing pa-
role, were violated in the following ways:

1. The’ USPC acted arbitrarily and capriciously
when it grounded its denial of petitioner's parole
‘almost entirely on the untested, non-specific al-
legations of Casso, someone, petitioner believes,
should be deemed incredible as a matter of law;

2. The USPC incorrectly rated petitioner's offense
severity as Category Eight, crediting “untested
unsupported hearsay allegations” of Anthony
Casso.

3. The government suppressed information re-
vealing that Casso is not a reliable informant.

4, The USPC violated petitioner's due process
right by relying on AUSA Kelley's “conclusory”
statement that Casso's allegations are corrobor-
ated by D'Arco and Carew.

Id.

On December 9, 1998, during the pendency of
petitioner's habeas corpus proceeding before this
Court, the Parole Commission provided a statutory
interim hearing to Furnari pursuant to 18 U.S.C. §
4208(h)(2). (Doc. No. 16, Ex.3., Review Hearing
Summary). At that hearing, Furnari claimed that at
the time Assistant U.S. Attorney Kelley was

presenting Casso’s statements to the Parole Com-
mission! other prosecutors were concluding
that Casso was not credible and was engaged in
new criminal conduct while incarcerated. /d. at p. 3.
Furnari presented an affidavit which Assistant U.S.
Attorney Stambolidis had submitted in another
case, stating that Casso had lied to prosecutors in
matters relevant to that case. /d.

FNI. Assistant U.S. Attorney David N.
Kelley wrote a letter to the Parole Com-
mission dated August 1, 1996, detailing ©
Furnari's involvement in various crimes,
including the murders of Lee Schleifer,
Richard Taglianetti and Frank DeCicco,
and the attempted murder of Joseph Abin-
anti. Assistant U.S. Attorney Kelley's letter
was based largely on information received
from Anthony Casso, Thomas Carew and
Alfonso D'Arco. See Furnari v. U.S. Pa-
role Commission, Civil . Action. No.
4:02-CV-0555, slip op. at pp. 4-5 (M.D. -
Pa. April 4, 2002).

The hearing examiner discussed this document
and explained his reasons for continuing to credit
Casso and corroborating witnesses in the hearing
summary. /d. The examiner recommended no
change in the prior order that Furnari serve to a
15-year reconsideration hearing in December, 2011.
Id. at p. 5. The Parole Commission adopted that re-
commendation, (Doc. No. 16, Ex, 4, Notice of Ac-
tion). The Parole Commission did not, however, in-
clude the reasons for continuing to rely upon the
Casso information notwithstanding the Stambolidis
letter on the notice of action. /d. On April 2, 1999,
the National Appeals Board affirmed the decision
that Furnari serve to a 15-year reconsideration hear-
ing in 2011. (Doc. No. 16, Ex.5., Notice of Action
on Appeal).

*3 By order dated April 12, 1999, this Court
denied Furnari's petition for writ of habeas corpus,
finding that there was a rational basis in the record
for the Parole Commission's decision. Furnari v.
Warden, Civil Action No, 4:98-CV-0222 (M.D.Pa.

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Feb. 11, 1998). Furnari appealed this decision.

_ The‘ United States Court of Appeals for the
Third Circuit took judicial notice of the. interim
hearing and the notices of action which followed it.
FN2 See Furnari v. Warden, 218 F.3d 250 (3d
Cir.2000). The Court of Appeals held that the Pa-
role Commission had erred in failing to “make clear
in its decision on the interim hearing whether it
continued to believe that the discredited witness
[Casso] was credible or otherwise concluded that
there was sufficient information from other sources
to tie Furnari to murder,” and had thereby failed to
follow its regulation requiring a statement of reas-
ons for denying parole. /d at 252. The court held,
“fi]t is not possible to tell from [the Appeal Board's
affirmance after the interim hearing] whether the
Parole Commission continues to rely on Casso and
find him credible, or has concluded: that there is
sufficient additional information tying Furnari to
murder to conclude that he is a Category Eight even
absent the information provided by Casso.” Jd. at
. 256. The Court of Appeals ordered the case re-
manded to the district court “with instructions to
grant Furnari's petition conditionally and order the
Parole Commission to provide a new statement of
reasons consistent with this decision.” /d at 252.

FN2. These materials were not before this
Court when it made its decision on the
habeas corpus petition.

By Order dated September 28, 2000, this
Court, consistent with the Third Circuit's mandate,
remanded the action to the Parole Commission, dir-
ecting that the Commission either provide Furnari a
new statement of reasons consistent with the Third
Circuit's opinion, or afford him a de novo hearing,
within ninety days of the date of this Court's Order.
Furnari v. Warden, Civil Action No. 4:98-CV-0222
(Doc, No. 18) (M.D.Pa. Feb. 11, 1998).

On December 8, 2000, the Parole Commission
conducted a de novo hearing in which the hearing
examiner considered the following: ;

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* A September 25, 2000 letter submitted to the
Parole Commission by Assistant U.S. Attorney
Kelley, which. discussed the circumstances sur-
rounding the Stambolidis affidavit.

* A December 6, 2000 letter from Furnari's attor-
ney in response to Kelley's letter.

* A transcript of trial testimony of Carew in the
Pagliarulo case, which was submitted by Furnari
at the hearing.

(Doc. No. 16, Ex. 7, Initial Hearing Summary).
By Notice of Action dated December 27, 2000, the
Parole Commission found that Furnari's offense
severity was properly rated as Category Eight be-
cause it involved murder, conspiracy to murder and
multiple separate acts of extortion through racket-
eering offenses. (Doc. No. 16, Ex. 8, Notice of Ac-
tion). The Parole Commission found that a decision
more than 48 months above the guideline minimum
of 100 months was warranted because of the fol-
lowing aggravating factors:
*4 You were involved in the hierarchy, first as a
Capo and later as a Consigliere of a major organ-
ized crime organization and were involved either
directly [or indirectly] in the planning or approv-
al of murder and/or attempted murder. Further,
the murder of Lee Schleifer was of a prospective
informant/witness and the conspiracy to murder/
murder of Richard Taglianetti was a contract
murder. The Commission has determined that
there is sufficient corroboration of information
provided by Casso to rely upon the information
supplied by Casso notwithstanding the affidavit
from AUSA Stambolidis of the Eastern District
of New York. ,

Id. Finally, the Commission ordered Furnari

“continue to a 15-year Reconsideration hearing

(December 2011). Jd. By Notice of Action on Ap-
peal dated April 24, 2001, the National Appeals
Board affirmed the Parole Commission's decision.
(Doc. No. 16, Ex. 9, Notice of Action on Appeal).

On April 4, 2002, Furnari filed a second peti-

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tion for writ of habeas corpus in this Court. Furnari
vy. US. Parole Commission, Civil Action No.
4:02-CV-0555 (M.D. Pa. April 4, 2002). In his peti-
tion, Furnari asserted the. following four challenges
to the Parole Commission's April 24, 2001 de- cision:

1. The Parole Commission violated due process,
the controlling statute, its own regulations and
the law of the case, when it failed to provide ad-
equate reasons for crediting information supplied
by the mob informant whom the government con-
cedes has lied.

2. The Parole Commission violated the ex post
facto clause by relying on a provision of its regu-
lations which created a significant risk of pro-
longing Mr. Furnari's incarceration, as compared
with the provision in effect at the time of com-
mission of the conviction offenses.

3. The Parole Commission's decision rests on
evidence lacking sufficient indicia of reliability
to satisfy due process or the governing statutory
criteria, as authoritatively interpreted in the
[Parole Commission's] own rules, and without a
basis in fact.

4, The Parole Commission's reliance on conduct
other than the offenses of conviction to set peti-
tioner Furnari’s offense severity category violates
the Commission's own rules as well as due pro-
cess.

Id. at-pp. 11-12. By Order dated July 18, 2002,

this Court granted in part and denied in part, Furn-
ari's petition. Finding that the Parole Commission's
reliance on the retroactive change violated the Ex
Post Facto Clause, this Court directed that within
sixty days of the Court's Order, the Parole Commis-
sion reevaluate Furnari's application for parole in
accordance with the version of 28 C.F.R. § 2.20 in

effect when Furnari committed the underlying of-:

fenses. Jd. at p. 28. This Court further determined
that the Commission's statement of reasons for its
decision was supported by a rational basis in the re-

cord and denied Furnari's petition in all other re-
spects. /d.

By Notice of Action dated August 13, 2002, in
compliance with this Court's July. 18, 2002 Order,
the Parole Commission reviewed Furnari's case on
the record, and found the following:

*5 In compliance with the order of the United
States District Court for the Middle District of
Pennsylvania dated July 18, 2002, the Commis-
sion has reviewed your case on the record,
without reference to or application of the’ pre-
sumption against parole for certain Category
Eight offenders contained in the Note to the Pa-
‘role guidelines Table, 28 C.F.R. § 2.20.5" The
Commission orders no change in its prior de-
cision that parole is denied and that you serve to
a 15 year reconsideration hearing in December,
2011. Without presuming that you should be
denied parole, the Commission finds that a de-
cision more than 48 months above the guideline
minimum of 100 months (and denial of parole) is
warranted based on the following pertinent case
factors: as a high-ranking member of a Mafia
crime family, you are responsible for multiple
murders (Schleifer, Taglianetti and DeCicco) and
attempted murder (Abinanti) under a theory of vi-
carious liability, and also because you personally
solicited or ordered some of the crimes. These
crimes are aggravated by the fact that they were
committed in furtherance of the aims of a crimin-
al organization. The commission continues to
rely upon the reasoning and conclusion about the
evidence contained in the April 24, 2001 Notice
of Action on Appeal.

FN3. The Commission's rules contain a
presumption against parole for certain Cat-
egory Eight offenses, specifically: murder
committed to silence a victim or witness,
contract murder, murder by torture, murder
of a law enforcement officers to carry out
an offense, and murder committed to fur-
ther the aims of an on-going criminal oper-

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ation. 28 C.F.R. § 2.20, Note to guidelines
table. This provision was not part of the

Commission's rules when Furnari commit-

ted his offenses.

(Doc. No. 16, Ex. 10, Notice of Action). By
Notice of Action on Appeal dated November 14,
2002, the National Appeals Board affirmed the Pa-
role Commission's decision. (Doc. No. 16, Ex. 11,
Notice of Action on Appeal),

On November 13, 2003, Furnari filed his third
petition for writ of habeas corpus before this Court.
Furnari vy. U.S. Parole Commission, Civil Action
No, 4:03-CV-2046, Slip Op. at 2-3 (M.D.Pa. Nov.
13, 2003). Furnari's petition raised the same claims
that were considered and rejected by this Court in
its July 18, 2002 Order. By Order dated March 10,
2004, this. Court denied the petition, finding there to
be a rational basis in the Parole Commission's April
24, 2001 decision, aswell as the Commission's Au-
gust 13, 2002 reevaluation of Furnari's request for
parole. Jd. On March 8, 2005, the United States

‘Court of Appeals for the Third Circuit affirmed the
denial of Furnari's petition, also finding that the
Commission's findings were supported by a rational
basis. See Furnari v. U.S. Parole Commission, 2005
WL 535390 (3d Cir.2005).

On June 8, 2005, the Parole Commission con-
ducted a statutory interim hearing for Furnari.
(Doc. No, 16, Ex. 12, Hearing Summary). At the
hearing, Furnari's counsel submitted new evidence
in support of their argument that Casso and D'Arco
were unreliable, presenting lists of alleged lies by
each, /d. at pp. 4-5. The hearing examiner found
that “the information submitted does not warrant
the setting of a presumptive parole date or the ad-
vancement of the 15 year reconsideration hearing.”
Id. at p. 5. Thus, by Notice of Action dated July 8,
2005, the parole Commission ordered “no change in
15-year Reconsideration Date December 2011.”
(Doc. No. 16, Ex. 13, Notice of Action).

*6 On November 23, 2005, the Parole Commis-
sion issued its final decision affirming the previous

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decision. (Doc. No. 16, Ex. 14, Notice of Action on
Appeal). The National Appeals Board explained in
detail the reasons for its findings as follows:

Your first claim is that the Parole Commission
exceeded its authority by ordering no change in
your 15-year reconsideration hearing in 2011 at a
time when you should have been given a parole
release date within your guidelines under §
235(b)(3) of the Sentencing Reform Act. This is
essentially the same claim you made in your ad-
ministrative appeal in 2002. The Board rejected
your claim then, advising you that your Category
Eight guidelines have no upper limit and thus the

Commission's decision for you is within the.

guidelines, and that in any event § 235(b)(3) does
not require the Commission to give you a de-
cision within your guidelines but rather requires
the Commission to set a release date pursuant to
-18 U.S.C. § 4206 before the Commission goes
out of existence. As you may know, on Septem-
ber 29, 2005, the Commission's existence was ex-
tended for an additional three years in the United
States Parole Commission Extension and Senten-
cing Commission Authority Act of 2005. You are
therefore not entitled to have the Commission set
a release date for you at this time, and the Com-
mission did not exceed ‘its authority when it
ordered no change in your 15 year reconsidera-
tion hearing in 2011.

You have also raised your second claim in a prior
administrative appeal, that your guidelines are in-
correct because your offense behavior should
have been rated as Category Seven rather than as
Category Eight and that the Commission erro-
neously used “unsworn, unsubstantiated, and un-
reliable information to impose vicarious criminal
liability” on you. The Board rejected the claim’ on
April 24, 2001, and finds no need to address it
again. The Board notes, in fact, that your claim
appears to appeal the findings in the Board's
April 24, 2001 Notice of Action. Both a district
court and a court of appeals have upheld the
Board's April 24, 2001 decision, as modified on

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November 14, 2002. See Christopher Furnari v.
U.S. Parole Com'n, Civil No. 4:02-CV-0555
(M.D.Pa. July 18, 2002); Christopher Furnari v.
U.S. Parole Com'n, Civil No. 4:03-CV-2046
(M.D.Pa. March 10, 2004); Christopher Furnari
y. US. Parole Com'n, et al, No. 04-2109. Grd
Cir. March 8, 2005). You appealed the district
court's decision denying your habeas corpus peti-
tion to the Third Circuit, and on March 8, 2005,
the court of appeals ruled that the Commission
was “within its authority in relying upon conduct
other than the offense of [your] conviction, in-
cluding [your] alleged involvement in murders
‘ and an attempted murder for which [you] were
neither charged nor convicted.” As to your chal-
lenge to the Parole Commission's factual findings
with respect to your alleged involvement in these
other murders, the Third Circuit found “that a ra-
tional basis in the record existed for the Commis-
sion's conclusions.”

*7 Your third claim is that there was significant
information in existence but not known at the
time of your initial hearing in 2000, and that the
information was not properly considered at your
statutory interim hearing. The — allegedly
“significant information” you offer is “that the
information provided by Alphonse D'Arco either
fails to corroborate Casso or is inherently incred-
ible because it is factually impossible.”

' As an initial matter, the Board has reviewed the
record and finds that the Commission very care~
fully examined the information you presented at
your statutory interim hearing. See the interim
hearing summary, which you were given on
September 13, 2005 in response to your FO] re-
quest. The fact that the Commission did not agree
with your conclusion does not mean that your
claim and the information that you provided to
support that claim were not considered. The
Board adopts the Commission's analysis and con-
clusion on page 5 of the hearing summary and
continues to find that the testimony of D' Arco
corroborates Casso and is credible. You yourself

have previously conceded that D'Arco “was an
expert on the hierarchy and structure of organized
crime.” See Furnari v. Warden, Allenwood
F.CL, 218 F.3d 250 (3d: Cir.2000), where the -
Third Circuit said that “Kelley also noted that
Furnari has conceded that D'Arco was an expert
on the hierarchy and structure of organized crime,
and noted that D' Arco has stated that murders
committed by Furnari's crew while Furnari was a
capo would only have been done with his know-
ledge and consent. Kelley stated that there were a
number of murders by the family both when Fur-
nari was capo and when he was consigliere.” 218
F.3d at 253. In addition, the Board notes that at
least two federal judges have found D'Arco to be
a highly credible witness. See United States v.
Defede, 7 FSupp.2d 390, 395 n, 32
(S.D.N.Y.1998) (after noting D' Arco's extensive

’ testimony at a jury trial which resulted in the de-
fendant's conviction for two murders, Judge Ka-
plan concluded that “D' Arco's record suggests
that he is quite reliable”); United States v. Avel-
lino 1995 WL 728420 (E.D.N.Y., Nov. 20, 1995)
(in response to a credibility challenge to D' Arco
as a witness, the court noted that Judge Nickerson
had found D' Arco not only “very credible” but
“one of the more credible witnesses ... [he had]
ever heard”). ,

_Furthermore, while you attempt. to discredit D'
Arco by saying that he was not “in the know”
about your actions because he was not inducted
into the Lucchese family until 1982, the informa-
tion you submitted with your appeal (Exhibit P)
shows that he was part of the Lucchese family for
many years prior to his 1982 induction and “was
treated as a member, going to family functions
and ‘sit downs' .” (Exhibit P, pp. 1-2). In addi-
tion, if he was not “in the know” about events
‘prior to 1982, he could not have made the state-
ments favorable to you that resulted in the gov-
ernment's January 2, 1992 letter to your senten-
cing court. See Exhibit H. That letter requested
the modification of your presentence report based
on the testimony of D’ Arco that you were a capo

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in the Lucchese family in the 1970's and that you.

were not made consigliere of the Lucchese family
until the early 1980's. As a result, because ac-
cording to D' Arco you were a capo and not con-
sigliere in the late 1970's, the government con-
ceded that you were not sitting on the
“Commission” in 1970 when it approved the
murders of Carmine Galante, Leonard Coppola,
and Giuseppi Turrano and that you “could not

have sat on the Commission at the time of the —

Galante homicide.” (Exhibit H).

*§ Finally, you provide an excerpt of cross-
examination testimony by D' Arco from a Vin-
cent Gigante trial (Exhibit Q) in support of your
assertion that D'Arco is not credible because he
“testified that in early 1988, he saw Amuso, Cas-
so and Furnari who were on their way to a Com-
mission meeting,” at a time when you were
already incarcerated. The excerpt you provide
does not support your assertion. When D‘Arco
was asked “didn't you tell the FBI, around early '
88 you recalled Amuso and Casso on their way to
see The Robe, as you called him,” D'Arco re-
sponded that he “never told him 1988. I don't
know what they got there, but they're incorrect.”
The cross-examiner then asked, “So if they had
written down early 1988, they wrote down the
wrong date. That's your testimony; am I right,” to
which D'Arco responded, “Yes.” (Exhibit Q, p.
1261).

Your fourth claim is that there was “significant
exculpatory evidence” in existence but not known
at the time of the statutory interim hearing that
proves that you had nothing to do with the

murder of. Richard Taglianetti. You assert that.

Taglianetti was not murdered as a result of a con-
tract that you put out on him in 1983 for a murder
the Lucchese Family believed he committed in-
volving a member’s son and because of which he
fled. Rather, you claim that Taglianetti was
murdered after you were imprisoned solely be-
cause he struck his wife's sister, who was George
Zappola's wife, after an argument. In support of

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your claim, you submit an August 28, 2005 affi-

davit from George Zappola. (Exhibit X). The
Board finds that neither your claim nor the affi-
davit are “evidence that was in existence but not
known” at the time of your statutory interim
hearing. First the allegedly exculpatory evidence
that Taglianetti's murder was in response to his
slapping his sister-in-law is not information that
was “unknown” at the time of your 2005 stat-
utory interim hearing, because you made the
identical argument during your initial hearing on

‘December 8, 2000. Second, George Zappola's af-

fidavit was obviously not “in existence” at the
time of your statutory interim hearing on June 8,
2005, because it was signed on August 28, 2005,
nearly three months later. Thus, the claim based
on the affidavit was not correctly raised in this
administrative appeal, see 28 C.F.R. § 2.26, but
should have been submitted to the Commission
after August 28, 2005 as “new favorable informa-
tion” under 28 C.F.R. § 2,28(a).

Nonetheless, in the interest of expediency, the
Board will consider the claim and affidavit in this
appeal. The Board rejects your claim and finds
that the affidavit does not prove that you had
nothing to do with the murder of Richard
Taglianetti. The Board finds Zappola’s affidavits
not to be credible because it was submitted so
late, five years afer you made this argument at
your initial hearing in 2000, and because it is not
corroborated, whereas the reason for Taglianetti's
murder on which the Commission relied was cor-
roborated by several individuals. Further, Zap-
pola affirms in his affidavit that “Taglianetti was
killed only because of what he did to my wife”
(Exhibit X), but that assertion is contradicted by
evidence in your Exhibits V and W. The Board
finds more credible the contradictory evidence
contained in the exhibits. First, according to the
testimony of an FBI agent set forth in Exhibit V,
Taglianetti's argument with his sister-in-law was
not the sole or even the most important reason for
the murder, but was simply the event that caused
the Lucchese Family to more vigorously pursue

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the still existing contract that you put out on him.

in 1983 when you were the Lucchese consigliere.
FBI Agent Byrne testified in 1995:

*9 Basically, Your Honor, there had been a
long standing contract to kill Richie Taglianetti
going back as far as about 1983. An individual
in the Lucchese Crime .Family,-his son was
murdered and the Lucchese Family believed
that Richie Taglianetti had committed the
murder and a contract was put on Mr.
Taglianetti's life. In the beginning they couldn't
locate Mr. Taglianetti and it was not really
fully pursued when they first couldn't find him

and the contract was just always in- effect.

And then there came a time shortly before he
was killed when Mr. Taglianetti and Louise
Zappola, who is the wife of a Lucchese capo,
they had a dispute and Richie Taglianetti
slapped Louise Zappola around. Then once
again they put a full court press on to try to
find Mr. Taglianetti and kill him....They started
looking for him and eventually they came to a
plan where they would have two sets of shoot-

ers, and they would put surveillance basically -

24 hours a day on his house until one set of
shooters located him and killed
him....Eventually one group of shooters got Mr,

Taglianetti coming out of his house and they
shot and killed him.

(Exhibit V, pp. 8-9) (bold added). Second, as:

shown in Exhibit W, when Zappola pleaded
guilty to Taglianetti's murder, he never men-
tioned avenging his wife's honor or her being

“slapped around” by Taglianetti as a reason for .

the murder. He affirmed that the murder was to
advance his position in the’ racketeering enter-
prise. Zappola testified at the plea hearing that he
conspired with others to murder Taglianetti “for

the purpose of maintaining and increasing my po-

sition in an association in fact enterprise, consist-
ing of myself and others, which enterprise en-
gaged in racketeering activity” (Exhibit W, p.
53), and that he “murdered and aided and abetted

the murder” of Taglianetti “for the purpose of -

maintaining and increasing my position in an as-
sociation in fact enterprise consisting of myself
and others, which enterprise engaged in racket-
eering activity.” (Exhibit W, pa. 54).

Finally, the Board does not find exculpatory Zap-
pola's statement in his affidavit that you did not
communicate with him after your incarceration or
directly instruct him to kill Taglianetti. The

‘Board does not find that the contract simply

“lapsed” with the passage of time, a conclusion
that is supported by the FBI Agent's testimony.
As the Lucchese consigliere, you put the
Taglianetti contract in place before you were in-

carcerated and it needed no further direction from
you.

Your fifth claim is that the 100-year sentence im-
posed on you by the court. was “grossly dispro-
portionate” and is a mitigating circumstance that
the Commission can and should remedy. You
compare your sentence to sentences imposed on
other defendants in other cases, but not to your
own co-defendants. The Board refers you to the
Second Circuit's decision, United States v.
Salerno, 868 F.2d 524, 542-43 (2d Cir.1989),
where the court affirmed your 100-year sentence
and the 100-year sentences imposed on all but
one of your co-defendants. The Second Circuit
found that your 100-year sentence was constitu-
tional and it rejected your argument that your
sentence was disproportionate to your crime,
pointing out that you’ were a consigliere of the
Lucchese Family and “had been involved in
many of the recorded meetings where inmate
knowledge of the Commission's violent business
was evident.” 868 F.2d at 543. The Board agrees
with the Commission's conclusion on page 4. of
the hearing summary that your sentence was not

‘disproportionate to you crime and it declines to

change the Commission's decision for you.

*10 Finally, you request a more lenient decision
on the ground of compassion. The Board does not
find that a more lenient decision is warranted for

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you on that basis.

(Doc. No. 16, Ex. 14, Notice of Action on Ap-
peal).

On March 3, 2006, Furnari filed the instant pe-
tition for writ of habeas corpus in which he raises
the following claims for relief:

1, The Parole Commission violated 18 U.S.C. §
4206(a) and § 235(b)(3) of the Sentencing Re-
form Act when it ordered a 15-year reconsidera-
tion hearing for 2011.

2. The Parole Commission's rating of Furnari's
offense severity rating as a Category Eight lacks
a rational basis because it demonstrates a lack of
concern for the probable accuracy of the evidence
used to support the findings.

3. The National Appeals Board denied Furnari
due process and violated its own rules by sum-
marily rejecting the exculpatory evidence ob-
tained after the hearing.

4. The Parole Commission has ignored the

grossly disproportionate nature of Furnari's sen-
tence and has abdicated responsibility to minim-
ize the effects of sentencing disparities.

(Doc. No. 1, petition).

DISCUSSION :

It is well-settled that “there is no constitutional
or inherent right of a convicted person to be condi-
tionally released before the expiration of a valid
sentence.” Greenholtz v. Inmates of Nebraska Penal
’ &. Correctional Complex, 442 U.S. 1, 7 (1979). To
the extent that any liberty interest exists, it must be
created by the applicable parole statute. Jd. Further-
more, even if a liberty interest exists, due process
requires only that a hearing be provided, and that
the prisoner be given a statement of reasons for
denial of parole, if parole is denied. Board of Par-
dons v. Allen, 482 U.S. 369 (1987).

As to a parole decision rendered by the Com-

mission, it is well settled that the determination of

eligibility for parole has been committed by Con-.

gress to the discretion of the Commission. United
States v. Addonizio, 442 U.S. 178 (1979); Campbell
y. United States Parole Commtission, 704 F.2d 106
(3d Cir,1983), The function of judicial review of a
Commission decision on a petition for writ of
habeas corpus is to determine whether the Commis-
sion abused its discretion. The Court is not em-
powered to substitute its judgment for that of the
Commission in evaluating habeas petitioner's
claims unless the Commission's exercise of discre-
tion represents an egregious departure from rational
decision-making. See Butler v, United States Parole
Cominission, 570 F.Supp. 67-77 (M.D.Pa.1983).

The Court of Appeals for the Third Circuit has
routinely recognized that a federal court's review of
a decision issued by the Parole Commission is lim-
ited. Furnari v. Warden, 218 F.3d 250, 254. Gd

Cir.2000). The standard applied in such a review “”

‘is not whether the [Commission's decision] is sup-
ported by the preponderance of the evidence,- or
even by substantial evidence; the inquiry is only
whether there is a rational basis in the record for
the [Commission's] conclusions embodied in its
statement of reasons.’ “ /d (quoting Zannino v.

- Arnold, 531 F.2d 687, 691 (3d Cir.1976). However,

the review should consider whether the Parole
Commission “ ‘has followed criteria appropriate,
rational and consistent’ with its enabling statutes so
that its ‘decision is not arbitrary and capricious, nor
based on impermissible considerations.’ “ Jd. (quot-
ing Zannino, 531 F.2d at 690),

*11 As the Third Circuit noted in Furnari,
“It]he Commission is required, under 18 U.S.C. §
4206(b), to ‘state with particularity the reasons’ for

a denial of parole. See also 28 C.F.R. § 2.13(c) (At.

the conclusion of the hearing, the examiner shall
discuss the decision to be recommended by the ex-
aminer, and the reasons therefor, except in the ex-
traordinary circumstances of a complex issue that
requires further deliberation before a-recommenda-
tion can be made.’)” Furnari, 218 F.3d at 256. Fur-

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thermore, the Third Circuit has stated,

We do not find it either overly intrusive or con-
trary to the statute to require the Commission,
which is under a statutory mandate to ‘state
with particularity the reasons for [parole] deni-
al,’ to truly provide reasons. We believe that a

statement of reasons must reveal reasoning, and ©

not simply present conclusions, at least where
the reasoning is not apparent from the facts of
the case.

Marshall v. Lansing, 839 F.2d 933, 942-43 (3d

Cir.1988), With the above legal principles in mind,
the court will turn to a consideration of the. merits
of the petition.

Furnari's First Claim: The Parole Commission
violated 18 U.S.C. § 4206(a) and § 235(b)(3) of
the Sentencing Reform Act when it ordered a
15-year reconsideration hearing for 2011.

“The Sentencing Reform Act of 1984 (“SRA”)
abolished the Parole Commission and repealed fed-
eral parole statutes. Pub.L.No. 98-473, Title II, ch.
Ii, 98 Stat.1987, 2017-2034 (codified as amended at
18 U.S.C. § 3551-3742 (1994)). In their place, the
SRA set up a determinate sentencing scheme utiliz-
ing the sentencing guidelines. Jd The SRA became
effective on November 1, 1987, Lewis v. Martin,
880 F.2d 288, 290 (10th Cir.1989). In order to pro-
cess prisoners convicted under the old parole sys-
tem, the life of the Parole Commission was origin-
ally extended to five years beyond the effective
date of the SRA. See 98 Stat. at 2027, 2032, §
218(a) (5), § 235(b)(1)(A). The five-year provision
was amended by § 316 of the Judicial Improve-
ments Act of 1990, and again by the Parole Com-
mission Phaseout Act of 1996, Congress has contin-
ued to extend the life of the Parole Commission and
it is now scheduled to expire on October 31, 2008.
See United States Parole Commission Extension
and Sentencing Commission Authority Act of 2005,
Pub.L.No. 109-76, 119 Stat.2035, Sec. 2
(September 29, 2005).

When the SRA was originally enacted, §

235(b)(3) instructed the Parole Commission to set a -
release date for prisoners before the expiration of
the Parole Commission and “within the range that
applies to the prisoner under the applicable parole
guideline.” Pub.L.No. 98-473, § 235(b)(3), 98
Stat.2032 (1984). Just thirty-six days after the SRA
became effective, § 235(b)(3) was amended to cla-
rify that release dates were to be set under 18
U.S.C. § 4206. Section 235(b)(3), as amended by
the 1987, 1990 and 1996 amendments, reads as fol-
lows:

The United States Parole Commission shall set a
release date, for an individual who will be in its
jurisdiction on the day before the expiration of
the fifteen years after the effective date of this
Act, pursuant to 4206 of Title 18, United States
Code. A release date set pursuant to this para-
graph shall be set early enough to permit consid-
eration of an appeal of the release date, in accord-
ance with Parole Commission procedures, before
the expiration of fifteen years following the ef-
fective date of this Act.

*12 See Sentencing Reform Act of 1984, §
235(b)(3), (Title If of Comprehensive Crime Con-
trol Act of 1984, Pub.L.No. 98-473, 98 Stat.1987
(1984), as amended by the Sentencing Act of 1987,
§ 2(b) (2) of Pub.L.No. 100-82, 101 Stat. 1271
(November 1, 1987); the Judicial Improvements
Act of 1990, § 316, Pub.L.No. 101-650, 104 Stat.
5115 (December 1, 1990); and the Parole Commis-
sion Phaseout Act of 1996, Pub.L.No. 104-232, 110

Stat. 3055 (October 2, 1996)).

Furnari's contention that thé Parole Commis-
sion is required to set a release date is unavailing.
Section 235(b)(3) only requires that a release date
be ‘set “early enough to permit consideration of an
appeal” before the expiration of the Commission. It
has. been estimated that appeals of final release
dates will take three to six months. See 28 C.F.R.
2.64 (1987); 52 Fed.Reg. 5763-64 (Feb. 26, 1987).
The Parole Commission issued its Notice of Action
on July 8, 2005, clearly within the three to six
month estimated appeal time. Pursuant to 28 C.F.R.

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§ 2.26, a federal prisoner challenging an adverse

parole decision by the Commission must file an ap-

peal to the Board within 30 days from the date of
entry of the decision that is the subject of the ap-
_ peal. Furnari did not file his appeal until September
19, 2005, some 73 days after the Parole Commis-
sion's initial decision. Even though Furnari filed his
appeal well beyond the 30 day statutorily pre-
scribed time frame, his petition was still considered
by the Board. Thus, the Court finds that it was Peti-
tioner's own dilatoriness that caused the window of
time for consideration of his appeal to close. Non-
etheless, Furnari's allegation that the Commission
failed to allow enough time to permit an appeal is
of no moment in light of Congress’ decision, on
September 29, 2005, while Furnari's petition was
pending, to extend the Parole Commission three ad-
ditional years until October 31, 2008.

With respect to Furnari's argument that the Pa-
role Commission ordered a 15 year reconsideration
hearing to be held in December 2011, six years
after the authority of the Parole Commission ex-
pired, as fully explained above, § 235(b)(3) will re-
quire the Parole Commission, prior to its expira-
tion, to set a definite release date (or, as it may law-
fully do, to deny parole), but that statute does not
require that the Parole Commission set such a date
now.

Furnari's Second Claim: The Parole Commis-
sion's rating of Furnari's offense severity rating
as a Category Eight lacks a. rational basis be-
cause it demonstrates a lack of concern for the
probable accuracy (sic) of the evidence used to
support the findings .

As is correctly noted by the National Appeals
Board, Furnari's claim that his offense severity
level is incorrectly rated as a Category Eight has
been previously raised, considered and upheld by
the Board, this Court, and the United States Court
of Appeals. See Furnari v. U.S. Parole Com'n,
Civil No, 4:02-CV-0555 (M.D.Pa. July 18, 2002);
Furnari vy. U.S. Parole Com'n, Civil No.
4:03-CV-2046 (M.D.Pa. March 10, 2004); Furnari

v. U.S. Parole Com'n, et al., No. 04-2109 Grd Cir,
March 8, 2005) (holding that the Commission was
“within its authority in relying upon conduct other
than the offense of [your] conviction, including
[your] alleged involvement in murders and an at-

- tempted murder for which [you] were neither

charged nor convicted”). Thus, any further litiga-
tion of this issue is considered by this Court to be
an abuse of the writ. See McCleskey v. Zant, 499
U.S. 467(1991); 28 U.S.C. § 2244(b).

Furnari's Third Claim:. The National Appeals
Board denied Furnari due process and violated
its own rules by summarily rejecting the exculp-
atory evidence obtained after the hearing.

*13 Furnari claims that the National Appeals
Board summarily rejected the Affidavit of George
Zappola, submitted after the Parole Board's. initial
decision, and attesting to the fact that the murder of
Richard Taglianetti, which occurred more than five
years after petitioner was in custody, had nothing to
do with petitioner. However, viewed in the light of
the present record, it is apparent that this claim ap-
plies more to Furnari's dissatisfaction with the
weight and credibility the Parole Commission at-
tributed to the Zappola Affidavit. In this regard it
should be noted that the weight and credibility to be
given mitigating factors is within the discretion of
the Parole Commission. Slader v. Pitzer, 107 F.3d
1243, 1249 (7th Cir.1997) (“The weight to be ac-
corded mitigating factors is clearly entrusted to the
discretion of the Commission.” (citing Campbell v.
U.S. Parole Commission, 704 F.2d 106, 113 Gd
Cir.1983))); Hackett v. U.S. Parole Comm'n, 851
F.2d 127, 131 (6th Cir.1987) (“we have no power to
overturn a credibility determination made by the
Commission”).

Although not statutorily obligated to consider .
the Zappola Affidavit "4, the Parole Commission
did consider the affidavit, and found it to not be
credible, as is evident from the record. (See Doc.
No. 16, Ex. 14, pp. 2-4). Thus, the record reflects
that, contrary to Furnari's contention, the mitigating
factor, namely the Zappola Affidavit, presented by

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him in favor of parole was considered by the Parole the case.
Commission and thoroughly examined,
M.D,Pa.,2007.

FN4, Pursuant to 28 C.F.R. § 2.28(a), Fur- Furnari v. U.S. Parole Com'n

nari should have presented the Zappola Af- Not Reported in F.Supp.2d, 2007 WL 1804340

‘fidavit to the Parole Commission for re- (M.D.Pa.)

opening, citing the affidavit as “new favor-

able information” in support of reopening. END OF DOCUMENT

Furnari's Fourth Claim: The Parole Commis-
sion has ignored the grossly disproportionate
nature of Furnari's sentence and has abdicated
responsibility to minimize the effects of senten-
cing disparities.

Furnari claims that the National Appeals Board
rejected his claim that the grossly disproportionate
sentence imposed by Judge Owen was based on er-
roneous and false information, constituting a mitig-
ating circumstance which the Commission is em-
powered to address.

Once again, as is apparent from the record, the
Appeals Board explicitly considered Furnari's sen-
tence and determined that it did not qualify as a
mitigating factor. That the alleged
“disproportionate nature” of Furnari's sentence did
not compel the Commission to find it was a mitigat-
ing factor warranting remedy does not amount to an
abuse of discretion by the Commission. Campbell,
704 F.2d at 113

To the extent that Furnari is attacking the im-
position of the 100-year sentence, a federal criminal
defendant's conviction and sentence are only sub-
ject to collateral attack in a proceeding before the
sentencing court pursuant to 28 U.S.C. § 2255. E.g.,
United States v. Addonizio, 442 U.S. 178, 179
(1979), The petition for writ of habeas corpus will
be denied. An appropriate order will enter.

AND NOW, THEREFORE, IT IS HEREBY
ORDERED THAT:

1. The petition for writ of habeas corpus is
DENIED.

2. The Clerk of Court is directed to CLOSE

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Only the Westlaw citation is currently available.

United States District Court,
C.D. California.
Anthony Delmar NIX, Petitioner,

V.
James D. HARTLEY, Warden, et al., Respondents.

No. EDCV 07-1435-DOC (OP).
Sept. 24, 2009.

West KeySummaryPardon and Parole 284 €=49

284 Pardon and Parole
28411 Parole
284k48 Eligibility for Parole or Parole Con-
sideration ~
284k49 k. Factors governing decision, in
general. Most Cited Cases
Parole board's reliance on the unchanging cir-
cumstances of prisoner's offense of second degree
murder did not support a conclusion that he was
still a danger to society. Overwhelming evidence
was presented regarding prisoner's rehabilitation in
prison such as a lack of serious disciplinary viola-
tions, participation in self-help groups, educational
advancement, vocational efforts, and positive psy-
chological evaluations. Given this evidence, the cir-
cumstances of the offense no longer constituted re-
liable evidence that prisoner posed a threat to pub-
lic safety. 15 CCR §§ 2281, 2402(b-d),

Anthony Delmar Nix, Avenel, CA, pro se.

Lora Fox Martin, CAAG Office of Attorney Gener- |

al of California, San Diego, CA, for Respondents.

ORDER ADOPTING FINDINGS, CONCLU-
SIONS, AND RECOMMENDATIONS OF
UNITED STATES MAGISTRATE JUDGE —

DAVID O. CARTER, District Judge.
*1 Pursuant to 28 U.S.C. § 636, the Court has
reviewed the Petition, all the records and files

Page |

herein, and the Report and Recommendation of the
United States Magistrate Judge, de novo. The Court
concurs with and adopts the findings, conclusions,
and recommendations of the Magistrate Judge.

IT IS ORDERED that Judgment be entered: (1)
approving and adopting this Report and Recom-
mendation; and (2) directing that Judgment be
entered granting a writ of habeas corpus as follows:
The Board shall find Petitioner suitable for parole
at a hearing to be held within 30 days of the finality
of this decision, unless new, relevant and reliable
evidence of her conduct in prison or change in men-
tal status subsequent to the September 11, 2006, pa-
role consideration hearing is introduced. that is suf-
ficient to support a finding that Petitioner currently
poses an unreasonable risk of danger to society if

_ released on parole; and in the absence of any such

new relevant and reliable evidence showing Peti-
tioner's unsuitability for parole, the Board shall cal-
culate a prison term and release date for Petitioner
in accordance with California law, Further, if the
release date already has lapsed, Respondent shall,
within ten days of the Board's hearing, either re-
lease Petitioner forthwith if his release date lapsed
more than three years earlier, or release Petitioner
on parole for that period of her three year parole
term that remains if the release date lapsed less than
three years earlier.

REPORT AND RECOMMENDATION OF
UNITED STATES MAGISTRATE JUDGE
OSWALD PARADA, United States Magistrate

Judge.

This Report and Recommendation is submitted
to the Honorable David O. Carter, United States
District Judge, pursuant to the provisions of 28
U.S.C. § 636 and General Order 194 of the United
States District Court for the Central District of
California.

L
PROCEEDINGS
On October 31, 2007,. Anthony Nix

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(“Petitioner”), filed the current Petition for Writ of
Habeas Corpus by a Person in State Custody pursu-
ant to 28 U.S.C. § 2254. Petitioner challenges the
Board of Parole Hearings’ (“Board” or “BPH”)
September 11, 2006, decision finding him unsuit-

able for release on parole. On January 22, 2008,

Respondent filed an Answer to the Petition. On
February 11, 2008, Petitioner filed a Traverse to the
Answer. Thus, this matter is now ready for de- cision.

I.
FACTUAL BACKGROUND
A. Commitment Offense.™'

FN1. The facts of the commitment offense
are taken from the transcript of the hearing
and based on a summary of the commit-
ment offense prepared by Correctional
Counselor Kirkpatrick. (Lodgment 3 at 7.)

The Board read the following summary of facts
of the commitment offense as prepared by Correc-
tional Counselor Kirkpatrick for the October 2005
calendar:

“On July 14, 1991 at 12:27 am. Riverside Sher-
iffs Deputies responded to 4055 Briggs ... Aven-
ue in ... Rubidoux, ... area of Riverside County in
regard to an assault with a deadly weapon that
had just occurred. As the deputy approached the
‘ area a witness flagged him down and indicated
they just ran around the corner and she pointed
eastbound on Tilton ... Street. The deputy ob-
‘served the defendant and co-defendant[ ] David
Bernich ... and made contact with them. When
asked what happened at the Briggs apartment, co-
defendant indicated ‘That guy broke a window at
my house. I was just defending myself, my fam-
ily’ “-I'm going to read verbatim: “ ‘my family
could have been hurt’, The deputy then asked
who hit the victim and co-defendant replied ‘we
did.’’ The co-defendant was observed to have
fresh blood on his right hand and he initially
identified himself to the deputy as Jamie ...
Dominguez... The codefendant .was then asked,

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‘Where is the person. you hit?’ He responded,

.. quote, ‘He is laying there at the apartments’ end

quote. Both the suspects were placed into custody
at that time and returned to where the victim was.
While en route to the location, the co-defendant
spontaneously indicated, ‘we were just defending
ourselves. He came at us with a knife so we hit
him with some sticks'. The defendant did not
make any statement at this time. The victim,
Donald Howard, was pronounced dead at the
scene. A follow-up investigation was conducted
and it was determined that the victim had been at
the co-defendant's apartment earlier prior to the
assault. The victim had gotten into an argument
with his girlfriend and was being very loud at the
co-defendant's apartment. The co-defendant told
him to leave, at which time the victim exited the
apartment and as he was leaving broke a window,
which shattered glass on the codefendant's sleep-
ing infant. The codefendant then woke up the de-
fendant who was sleeping in one of the bedrooms
and they pursued the victim. The defendants con-
fronted the victim at the above location at which
time they argued and began hitting one another.
The victim had apparently gotten control of the
situation and defendants fled at that time. They
returned with sticks and a garden hoe. The victim
walked up the stairs to an apartment, retrieved a
butcher knife and returned. The defendants then
proceeded to beat the victim until] he was dead.
Witnesses indicated that once the victim had
fallen to the ground and was unconscious, the de-
fendants continued beating him. The autopsy re-
port indicates that a penetrating jab to the heart
and additional blow to the temple area of the
head caused the death. The blow to the temple
area penetrated through the skull. Both defend-
ants were arrested and booked for the murder at
that time and placed into custody. When asked if
he had any comments he, Nix, indicated, quote,
‘Not really’ end quote. He knows what happened
and it was a quote, ‘accident’ end quote. He
didn't mean to harm the victim and he's sorry it
happened. He.declined further comment.”

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*2 (Lodgment 3 at 7-10.)

B. Trial and Sentencing.

On February 20, 1992, Petitioner was con-
victed by a jury of second degree murder. (Pet. at
2.) On March 31, 1992, Petitioner was sentenced to
a state prison for a term of fifteen-years-to-life plus
one year. (/d.; Lodgment 1.) Petitioner became eli-
gible for parole consideration on March 14, 2002.
(Lodgment 3 at 1.)

C. Parole Hearing.

On September 11, 2006, Petitioner appeared
before the Board for a subsequent parole considera-
tion hearing, the one at issue in this matter.
(Lodgment 3.) This was his second hearing after
becoming eligible for parole in 2002. *? (/d. at 69.)

FN2. Petitioner's first hearing was held on
July 2, 2001, and parole was denied for
three years. The next hearing was sched-
uled for October 18, 2004. Petitioner stipu-
lated to unsuitability at that time and the
panel recommended he stay discipline free,
get additional self-help, and earn positive
chronos, and set the next hearing for the
2005 calendar. (Pet.Ex. C.)

The Board determined that Petitioner was un-
suitable for parole for the following reasons:

We considered many factors. We started with the
commitment offense and the Panel noted that the
offense was carried out in an especially cruel and
callous manner.... The motive for the crime, it ba-
sically started as a fight and at a point in time
when Mr, Howard was again no longer a threat
that's when the fight ended and that's when the,
essentially the assault began.... So far as the prior
record, the Panel noted that. you had failed to
profit from society's previous attempts to correct
your criminality, and that included time at a ju-
venile ranch and also a term at juvenile hall. In so
far as the criminality, this was for sale of cocaine,
a controlled substance. So far as your institution-

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al behavior, the Panel's noted that there's a couple
of areas that [need] some improvement, we think
you'd definitely served to have vocational certi-
ficates. You've got some pieces of vocations, but
to complete one if it's possible. And one of the
other areas that the Panel's concerned that you
haven't sufficiently participated in some benefi-
cial self-help programs and we're going to recom-
mend two different programs to you today. One
is a parenting class ... and [the second is] to do
some additional work in the area of anger man-
agement..... Misconduct while incarcerated, the
Panel noted that you did have seven 128A coun-
seling chronos, the last one being July 13, 1998,°
and that's for a failure to report and that you did
have a 12-26-03 115 for refusing to work. The

- panel noted that it's administrative, but it's a

115.... Psychological report, June of 2001, by Dr.
Lille, ... it's generally a favorable report. It's risk
assessment now, unfortunately, is a little bit
dated... Parole plans, your parole plans are a
little bit weak.... [T]he 3042 notices resulted in an
appearance from a representative from the Dis-
trict Attorney's Office. You heard him indicate

- opposition to the granting of parole .... As a result

of the last 115, the Panel still finds that your
gains are recent and you're going to have to
demonstrate an ability to maintain these over an
extended period of time. Specific reasons for the
finding [of a two-year denial] is follows: that you
committed an offense in an especially cruel man-
ner, specifically that Mr. Donald Howard was

‘beaten to death. He had two fatal wounds, one

was to the heart and the other was to the head.
The instrument that was used was a hoe. Offense
was carried out in a very dispassionate manner,
and again, once the victim was on the ground and
he dropped the knife he no longer posed a partic-
ular threat to you at that point. In so far as the of-
fense being carried out in an exceptionally cal-
lous disregard for human suffering, and again, the
Panel noted that the victim was on the ground, he
was no longer a threat, had it ceased at that point

_ in time it would have been probably closer to

what you described as a fight. But at that point in

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time it changed from the fight, and again, the ceived no certificates because the classes
motive in the separate decision we noted that this . had been shut down. (Lodgment 3 at 41.)
thing started as a fight, a dispute, where you were
drawn into it unfortunately, while asleep, and I.
made to come out and confront this individual. PROCEDURAL BACKGROUND
So far as the psychological report that was done On September 11, 2006, the Board informed
by Dr. Lille in June of 2001, the doctor indicates Petitioner he was unsuitable for parole. (Lodgment
a longer period of observation and evaluation 3.)
would be appropriate, therefore a longer period of
observation and evaluation's going to be required On March 19, 2007, Petitioner filed a habeas
before the Board could find that you're suitable petition in the Riverside County Superior Court.
for parole. During this next two-year period we (Lodgment 4.) On March 27, 2007, the superior
want you to, to a certain Degree, become and re- court denied his petition, (Lodgment 5.)
main disciplinary free, to the extent that the pro-
grams are available upgrade yourself vocationally On June 20, 2007, Petitioner filed a habeas pe-
and get a vocational certificate, continue to parti- tition in the California Court of Appeal. (Lodgment
cipate in your self-help associated with the AA/ 6.) On July 3, 2007, the court of appeal summarily
NA, to give serious thought to our recommenda- denied the petition. (Lodgment 7.)
tions around the parenting class and anything else
that you can do in anger management. And again, On or about July 10, 2007, Petitioner filed a
if those programs aren't available don't let that be habeas petition in the California Supreme Court.
an obstacle to you, going out and showing initiat- (Lodgment 8.) On September 12, 2007, the supreme
ive for the next Panel and bringing something to court summarily denied the petition. (Lodgment 9.)
them that would indicate that you listened to us
today, you took it heart and you did something IV.
about it .... oo, PETITIONER'S CLAIMS
Petitioner contends that the Board's decision,
*3 Ud. at 61-71.) o based on the unchanging facts of the crime, bears
. no nexus to his current parole risk; that his rights to
The Panel noted Petitioner's positive work re- due process were violated because he has served his
_ ports, the fact that he completed his GED while in primary prison term; and that the Board did not
prison, and the fact that he had participated in vari- properly weigh all relevant evidence that would
ous vocational courses, including auto mechanics, show his suitability. (See Pet. Mem. P. & A. at 6.)
mill and cabinetry, office services clerk, chaplain
clerk, refrigeration and air conditioning, but had no V.
certificates of completion from those courses.F§3 ( STANDARD OF REVIEW
Id. at 40-41, 46-47, 49-50, 69.) The Panel also The standard of review applicable to Petition-
‘noted Petitioner's continued involvement in NA, er's claims is set forth in 28 U.S.C. § 2254(d), as
that he was currently enrolled in a life skills pro- amended by the Antiterrorism and Effective Death
gram entitled Work, Education and Business Plan- . Penalty Act of 1996 (“‘AEDPA”):
ning, was active in the Islamic faith, and had atten-
ded several self-help workshops. (/d. at 49-50.) The (d) An application for a writ of habeas corpus on
next hearing was set for two years later. (/d. at 72.) behalf of a person in custody pursuant to the
judgment of a State court shall not be granted
FN3. Petitioner explained that he had taken with respect to any claim that was adjudicated on
a number of vocational courses but re- the merits in State court proceedings unless the

adjudication of the claim-

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(1) resulted in a decision that was contrary to, or
involved an unreasonable application of, clearly
established Federal law, as determined by the Su-
preme Court of the United States; or

(2) resulted in a decision that was based on an
unreasonable determination of the facts in light of
the evidence presented in the State court proceed-
ings.

28 U.S.C. § 2254(d). Further, a State court fac-
tual determination must be presumed correct unless
rebutted by clear and convincing evidence. 28
U.S.C. § 2254(e)(1).

. Under the AEDPA, the “clearly established
Federal law” that controls federal habeas review of
State court decisions consists of holdings (as op-
posed to dicta) of Supreme Court decisions “as of
the time of the relevant state-court decision.” Willi-
ams v. Taylor, 529 U.S. 362, 412, 120 S.Ct. 1495,
146 L.Ed.2d 389 (2000). To determine what, if any,
“clearly established” United States Supreme Court
law exists, the court may examine decisions other
than those of the United States Supreme Court. La-

Joie v. Thompson, 217 F.3d 663, 669 n. 6 (9th .

Cir.2000); Van Tran v. Lindsey, 212 F.3d 1143,
1154 (9th Cir.2000), overruled on other grounds by
Lockyer v. Andrade, 538 U.S. 63, 123 S.Ct. 1166,
155 L.Ed.2d 144 (2003). Ninth Circuit cases “may
be persuasive.” Duhaime v. Ducharme, 200 F.3d
597, 600 (9th Cir.1999). On the other hand, a state
court's decision cannot be contrary to, or an unreas-
onable application of, clearly established federal
. law, if no Supreme Court precedent creates clearly
established federal law relating to the legal issue
the habeas petitioner raised in state court. Brewer v.
Hall, 378 F.3d 952, 955 (9th Cir.2004); see also
Carey v. Musladin, 549 U.S. 70, 127 S.Ct. 649,
654, 166 L.Ed.2d 482 (2006) (in the absence of a
Supreme Court holding regarding the prejudicial ef-
fect of spectators' courtroom conduct, the state
court's decision could not have been contrary to or
-an unreasonable application of clearly established
federal law).

*4 Although a particular State court decision
may be both “contrary to” and “an unreasonable ap-
plication of’ controlling Supreme Court law, the
two phrases have distinct meanings. Williams, 529
U.S. at 403. A State court decision is “contrary to”
clearly established federal law if the decision either
applies a rule that contradicts the. governing Su-
preme Court law, or reaches a result that differs
from the result the Supreme Court reached on
“materially indistinguishable” facts. Early v. Pack-
er, 537 U.S. 3, 8, 123 S.Ct. 362, 154 L.Ed.2d 263
(2002) (per curiam); Williams, 529 U.S. at 405-06.
When a State court decision adjudicating a claim is
contrary to controlling Supreme Court law, the re-
viewing federal habeas court is “unconstrained by §
2254(d) (1).” /d. at 406. However, the State court
need not cite or even be aware of the controlling
Supreme Court cases, “so long as neither the reas-
oning nor the result of the state-court decision con-
tradicts them.” Early, 537 USS. at 8.

State court decisions that are not “contrary to”
Supreme Court law may only be set aside on feder-
al habeas review “if they are not merely erroneous,
but ‘an wareasonable application’ of clearly. estab-
lished federal law, or are based on ‘an wnreason-
able determination of the facts.’ ” Early, 537 U.S.
at 11 (citing 28 U.S.C. § 2254(d)). Consequently, a
State court decision that correctly identified the
governing legal rule may be rejected if it unreason-
ably applied the rule to the facts of a particular

’ case. See Williams, 529 U.S. at 406-10, 413 (e.g.,

the rejected decision may state Strickland rule cor-
rectly but apply it unreasonably); Woodford v. Vis-
ciotti, 537 U.S. 19, 24-25, 123 S.Ct. 357, 154
L.Ed.2d 279 (2002) (per curiam), However, to ob-
tain federal habeas relief for such an “unreasonable
application,” a petitioner must show that the State
court's application of Supreme Court law was
“objectively unreasonable.” Woodford, 537 U.S. at
27, An “unreasonable application” is different from
an erroneous or incorrect one. Williams, 529 U.S.
at 409-10; see also Woodford, 537 U.S. at 25; Bell
v. Cone, 535 U.S. 685, 686, 122 S.Ct, 1843, 152
L.Ed.2d 914 (2002),

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VI.
DISCUSSION
A. The Current State of the Law on “Some Evid-
ence”.
1. Ninth Circuit and Federal Law.

As a matter of clearly established Supreme
Court law, the Board's or Governor's decision to
deny parole must be supported by “some evidence”
with some indicia of reliability and cannot other-
wise be arbitrary. /rons v. Carey, 505 F.3d 846, 851
(9th Cir.2007); Sass v. Cal. Bd. of Prison Terms,
461 F.3d 1123, 1129 (9th Cir.2006) (quoting Super-
intendent v. Hill, 472 U.S. 445, 457, 105 S.Ct.

2768, 86 L.Ed.2d 356 (1985)); Jancsek v. Or. Bd. of —

Parole, 833 F.2d 1389, 1390 (9th Cir.1987)
(adopting the “some evidence” standard set forth by
the Supreme Court in Hill ); see also Biggs v. Ter-
hune, 334 F.3d 910, 915 (9th Cir.2003); McQuillion
y. Duncan, 306 F.3d 895, 904 (9th Cir,2002).

*5 In denying parole, the Board or Governor
may rely solely on unchanging factors such as the
circumstances or gravity of the commitment of-
fense, and the prisoner's conduct prior to imprison-
ment. See /rons, 505 F.3d at 851-53; Sass, 461 F.3d
at 1129; Biggs, 334 F.3d at 916; Jancsek, 833 F.2d
at 1390-91. The Ninth Circuit has observed that re-
liance on such unchanging factors to deny parole
might eventually constitute a violation of due pro-
cess. See Biggs, 334 F.3d at-916-17; see also Irons,
505 F.3d at 853; Sass, 461 F.3d at. 1129. However,
that observation by the Ninth Circuit in Biggs con-
stituted merely dicta. See Kunkler v. Muntz, 226

Fed, Appx. 669, at *2 (9th Cir.2007) (referring to |

the Ninth Circuit's comments in Biggs about the
continued reliance on the gravity of the commit-
ment offense as dictum).

By way of contrast to the Ninth Circuit's expli-
cit holding that the “some evidence” standard is
clearly established under Supreme Court law for
AEDPA purposes, the Ninth Circuit has never held
that, as a matter of clearly established Supreme
Court law, due process is violated by the Board's or
the Governor's continued reliance on the unchan-

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ging circumstances of the commitment offense to
deny parole.*N4 See Medway v. Schwarzenegger,
257 Fed. Appx. 44 (9th Cir.2007) (“there is no
‘clearly established Federal law’ ... that limits the
number of times a parole board or the governor
may deny parole based on the brutality of the com-
mitment offense”) (citation omitted); Culverson v.
Davison, 237 Fed. Appx. 174, at *3 (9th Cir.2007)
(same), FNS

FN4. But see Hayward v. Marshall, 512
F.3d 536, 542 (9th Cir.2008), rehearing en
bane granted by 527 F3d 797 (9th
Cir.2008). Although application of the
some evidence standard in this manner is
precisely how the Ninth Circuit framed the
standard in the now uncitable Hayward de-
cision, this Court does not rely on Hay-
ward in concluding that some evidence
must support the decision of the Board or
Governor and not simply the enumerated
factors. Rather, the Court relies on the
Irons court's instruction to frame applica--
tion of the some evidence standard by ref-
erence to the State's statutes and regula-
tions coupled with the California Supreme
Court's recent clarification of the proper
construction of those statutes and regula-
tions.

FNS. Kunkler, Medway, and Culverson are
citable for their persuasive value pursuant
to Ninth Circuit Rule 36-3.

2. California Law.

Under /rons, the Court's analysis of whether
the Board's or the Governor's unsuitability determ-
ination is supported by some evidence is framed by
the “statutes and regulations governing parole suit-
ability” determinations in California. See Irons, 505

’ F.3d at 851. First, the Court must determine the

findings “necessary to deem a prisoner unsuitable
for parole.” Jd. Then, the Court must review the re-

cord to determine whether the state court's decision —

holding that these findings were supported by
“some evidence” constituted an unreasonable ap-

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plication of the “some evidence” standard. /d.
However, “[t]o determine whether the some evid-
ence standard is met ‘does not require examination
of the entire record, independent assessment of the
credibility of witnesses, or weighing of the evid-
ence,’ ” Sass, 461 F.3d at 1128. —

California law mandates that a parole release
date be-set unless the panel determines that “the
gravity of the current convicted offense or offenses,
or the timing and gravity of the current or past con-
victed offense or offenses, is such that considera-
tion of public safety requires a more lengthy period
of incarceration ....” Cal.Penal Code § 3041(b). The
Board is charged with determining “whether the life
prisoner is suitable for release on parole,” and
whether “the prisoner will pose an unreasonable

' risk of danger to society if released from prison.”
Cal.Code Regs. tit. 15, § 2402(a). In determining
suitability for parole, the panel is directed to con-
sider “all relevant, reliable information,’ and is
guided by circumstances tending to show suitability
and unsuitability for parole.*N¢ Jd, at § 2402(b)-(d).

FN6. The California regulation provides
that the information to be considered in-
cludes:

All relevant, reliable information avail-
able to the panel shall be considered in
determining suitability for parole. Such
information shall include the circum-
stances of the prisoner's social history;
past and present mental state; past crim-
inal history, including involvement in
other criminal misconduct which is reli-
ably documented; the base and other
commitment offenses, including behavi- |
or before, during and after the crime;
past and present attitude toward the
crime; any conditions of treatment or
control, including the use of special con-
ditions under which the prisoner may
safely be released to the community; and
any other information which bears on the

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prisoner's suitability for release.
Cal.Code Regs. tit. 15, § 2402(b).

*6 Title 15, section 2281, of the California
Code of Regulations sets forth, as a guide, a non-
exhaustive list of factors that are to be considered
by the board in evaluating parole suitability or un-

suitability, Factors that weigh against parole in-
’ clude that a prisoner: (1) carried out the offense in

an especially heinous, atrocious, or cruel manner,
e.g., the offense was carried out in a manner which
demonstrates an exceptionally callous disregard for
human suffering, involved an attack on multiple
victims, involved abuse or mutilation of the victim,,.
or the motive for the crime was inexplicable or
trivial in relation to the offense; (2) has a prior re-
cord of violence; (3) has an unstable social history;
or (4) has engaged in serious misconduct in prison.
Cal.Code Regs. tit. 15, § 2402(c).

Factors that weigh in favor of parole include
that the prisoner: (1) has shown signs of remorse,
including attempting to repair the damage or indic-
ating that he understands the nature and magnitude
of the offense; (2) has no juvenile record; (3) has a
stable social history; (4) is of an age that reduces
the probability of recidivism; (5) committed the
crime as a result of significant stress in his life; (6)
has made realistic plans for release or has de-
veloped marketable skills that can be put to use

“upon release; or (7) has engaged in. institutional

activities that indicate an enhanced ability to func-
tion within the law upon release. /d. § 2402(d).

It has now been clarified under recent Califor-
nia law FN? that the task of the Board is to determ-
ine whether the prisoner would be a danger to soci-
ety if he or she were paroled:

FN7. Because the recent California Su-
preme Court cases of /n re Lawrence, 44
Cal.4th 1181, 82 Cal.Rptr.3d 169, 190 P.3d
535 (2008) and In re Shaputis, 44 Cal.4th
1241, 82 Cal.Rptr.3d 213, 190 P.3d 573
(2008), merely clarify existing California _

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law there is no need to analyze the retro-
active effect of those decisions:

. The relevant determination for the Board

and the Governor is, and always has
been, an individualized assessment of
the continuing danger and risk to public
safety posed by the inmate. If the Board
determines, based upon an evaluation of
each of the statutory factors as required
by statute, that an inmate remains a
danger, it can, and must, decline to set a
parole: date.... Notably, despite the con-
clusion we reach in the present case, we
reiterate our recognition in Dannenberg
that pursuant to section 3041, subdivi-
sion (b), the Board has the express
‘power and duty, in an individual case, to
decline to fix a firm release date, and
thus to continue the inmate's indetermin-
ate status within his or her life maximum
sentence, if it finds that the circum-
stances of the inmate's crime or criminal
history continue to reflect that the pris-
‘oner presents a risk to public safety.

In re Lawrence, 44 Cal.4th at 1227-28,
82. Cal.Rptr.3d 169, 190 P.3d 535 (first
emphasis added).

[A] parole release decision authorizes the Board
(and the Governor) to identify and weigh only the
factors relevant to predicting “whether the inmate
will be able to live in society without committing
additional antisocial acts.” ... These factors are
designed to guide an assessment of the inmate's
threat to society, if released, and hence could not
logically relate to anything but the threat cur-
rently posed by the inmate...

[Under the statute and governing regulations,
the circumstances of the commitment offense
(or any of the other factors related to unsuitab-
ility) establish unsuitability if, and only if,

those circumstances are probative to the de-
termination that a prisoner remains a danger to
the public. It is not the existence or nonexist-
ence of suitability or unsuitability factors that
forms the crux of the parole decision; the signi-
ficant circumstance is how those factors inter-
relate to support a conclusion of current dan-
gerousness to the public.

In re Lawrence, 44 Cal.4th 1181, 1205-06, 1212,
82 Cal.Rptr3d 169, 190 P.3d 535 (2008)
(citations omitted) (abrogating prior California
Supreme Court decisions in /n re.Rosenkrantz, 29
Cal.4th 616, 128 Cal.Rptr.2d 104, 59 P.3d 174
(2002) and Jm re Dannenberg, 34 Cal4th 1061,
23 Cal.Rpir.3d 417, 104 P.3d 783 (2005), to the
extent that those decisions implied that a particu-
larly egregious commitment offense always will

provide the requisite modicum of evidence sup-

porting the Governor's decision).

*7 The Jn re Lawrence court clarified that “the
relevant inquiry is whether the circumstances of the
commitment offense, when considered in light of
other facts in the record, are such that they continue
to be predictive of current dangerousness many
years after commission of the offense” and a parole
decision is not “dependent solely upon whether the
circumstances of the offense exhibit viciousness
above the minimum elements required for convic-
tion of that offense.” /d at 1221, 82 Cal.Rptr.3d
169, 190 P.3d 535. “Accordingly, when a court re-
views a decision of the Board or the Governor, the
relevant inquiry is whether some evidence supports
the decision of the Board or the Governor that the
inmate constitutes a current threat to public safety,
and not merely whether some evidence confirms
the existence of certain factual findings” supporting
suitability or unsuitability for parole. /d at 1212, 82
Cal.Rptr.3d 169, 190 P.3d 535: see also In re Shap-
utis, 44 Cal.4th 1241, 82 Cal.Rptr.3d 213, 190 P.3d
573 (2008) (companion case to /n re Lawrence ).

With respect to the Board's or Governor's reli-
ance solely on the commitment offense to deny pa-
role, the California Supreme Court also held:

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[T]he aggravated nature of the crime does not
in and of itself provide some evidence of current
dangerousness to the public unless the record also
establishes that something in the prisoner's preor

post-incarceration history, or his or her current .

demeanor and mental state, indicates that the im-
plications regarding the prisoner's dangerousness
that derive from his or her commission of the
commitment offense remain probative to the stat-
utory determination of a continuing threat to pub-
lic safety:

In re Lawrence, 44 Cal4th at 1214, 82
Cal .Rptr.3d 169, 190 P.3d 535. The court went on
to note that in the case where i) an inmate's rehabil-
itation and suitability for parole is overwhelming,
ii) the only evidence related to unsuitability is the
gravity of the commitment offense, and iii) that of-
fense is both temporally remote and mitigated by
circumstances indicating the conduct is unlikely to
recur, the immutable circumstance that the commit-
ment offense involved aggravated conduct does not

provide some evidence that inevitably supports the -

ultimate decision that the.inmate remains a threat to
public safety. /d, at 1191, 82 Cal.Rptr.3d 169, 190
P.3d 535. Under California law, therefore, “the
proper articulation of the standard of review is
whether there exists ‘some evidence’ that an inmate
poses a current threat to public safety, rather than
merely some evidence of the existence of a stat-
utory unsuitability factor.” Jn re Shaputis, 44
Cal.4th at 1254, 82 Cal.Rptr.3d 213, 190 P.3d 573.

Thus, the California Supreme Court has ex-:

pressly rejected the notion that the mere existence
of one or more unsuitability factors described in the
State's regulations is itself necessarily sufficient to
support the ultimate conclusion that the inmate cur-
rently poses an unreasonable risk of danger if re-
leased, which is the “focus” of and only relevant
determination underpinning the parole decision, Jd.
at 1210, 82 Cal-Rptr.3d 213, 190 P.3d 573. As a
matter of California law, the individualized consid-
eration of the specified factors that is due an inmate
“requires more than rote recitation of the relevant

factors with no reasoning establishing a rational
nexus between those factors and the necessary basis
for the ultimate decision the determination of cur-
rent dangerousness.” Jd.

*§8 This Court is bound by the California Su-
preme Court's construction of its own laws, See Es-
telle v. McGuire, 502 U.S. 62, 67-68, 112 S.Ct.
475, 116 L.Ed.2d 385 (1991): see also Bradshaw v.
Richey, 546 U.S. 74, 76, 126 S.Ct. 602, 163
L,Ed.2d 407 (2005), Moreover, as noted above, the
Irons decision itself explicitly instructs that the
California statutes and regulations frame the applic-
ation of the some evidence standard.*N8

FN8. Given the /rons instruction and the
California Supreme Court's recent clarific-
ation that the mere existence of one or
more of the factors identified in the State's
regulations does not necessarily support
the conclusion that an inmate poses a cur-
rent risk of dangerousness if released, this
Court joins those other California District
Courts that have found that, in order for
the some evidence standard to be satisfied,
the factors identified by the BPT or Gov-
ernor in denying parole must themselves
support the ultimate conclusion that the in-
mate's release poses an unreasonable risk
of danger to the public. See, eg, Adams v.
Schwartz, No. 8-05-2237 JAM JFM P,
2008 WL 4224561, at *12-*13 (E.D.Cal.
Sept.12, 2008) (granting habeas relief, cit-
ing In re Lawrence and describing some
evidence standard as. requiring that “an in-
mate poses a current threat to public
safety, rather than merely some evidence
of the existence of a statutory unsuitability
factor”); Tash v. Curry, No. C 05-2417
CW (PR), 2008 WL 3984597, at *4,
*10-*12) (N.D.Cal. Aug.27, 2008)
(granting habeas relief, citing Jrons' direc-
tion to look to California law and analogiz-
ing case to /m re Lawrence ); see also Or-
tega v. Dexter, No. 08-4147-CAS(E), 2008

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WL 5263833, at *6 (C.D.Cal. Dec.16,
2008) (denying habeas relief, but citing Jn

re Lawrence and describing some evidence .

standard as “not whether the evidence sup-
ported any particular factor regarding pa-
role suitability, but rather whether ‘some
evidence’ indicates the prisoner's release
unreasonably would endanger public safety”).

B. Petitioner's Pre- and Post-Conviction History.

Prior to the commitment offense at age eight-
een, Petitioner's only criminal history was in 1989,
at age sixteen, for sale of cocaine, a non-violent of-
fense. (Pet. Ex. G at 3.) He was declared a ward of
the court and placed at the county's Twin Pines
Ranch detention center, (/d.) °

At the time of the hearing, thirty-two-year-old
Petitioner worked as a housing unit porter, and his
supervisors indicated he performs his job
“extremely well, reports to work ‘on-time,’ and fol-
lows instructions.” (Jd at 4.) He also was particip-
ating in such self-help activities as Narcotics An-
onymous (receiving several Certifications of Ap-
preciation), a Life Skills Program titled “Work,
Education and Business Planning (WEB) from an
Islamic Perspective,” and Breaking Barriers (which
develops “good belief principles, self-development,
and social skills towards corrective change.”) (/d.)
In the past, he had completed programs in Friends
Outside National Organization, Creative Conflicts
Resolutions, Business Management, Parenting Edu-
cation; Cage Your Rage, and vocational programs
in Electrical Work (Lodgment 3 at 31-32), and Air
Conditioning and Refrigeration, reaching the level
of foreman in the latter program. Ud. at 39-40.) For
two years, he voluntarily saw a facility therapist in
order to better evaluate his own progress. (/d at
32.) Since 1995, he had been conducting religious
services for his fellow Muslim inmates. (/d. at 33.)

As reflected by the record, Petitioner's most re-
cent “serious” disciplinary action was a115,FN
classified as “administrative,” and received in 2003
for refusing to report to a work assignment. (Pet.

. Page 10

Ex. G at 4.) Prior to that, he had a 115 in 1997 for
refusing a direct order, and one in 1995 for being
absent from work, (/d,) He also had a few 128s: in
1998, for failing to report to a work assignment; in
1995, for being absent from work; in 1994, for fail-
ing to obey orders; and in 1992, for failing to obey
orders and failing to report to a work assignment. (
Td.)

FN9. “When ... minor misconduct recurs
after verbal counseling or if documentation
of minor misconduct is needed, a descrip-
tion of the misconduct and counseling
provided shall be documented on a CDC
Form 128-A, Custodial Counseling
Chrono.” See Cal.Code Regs. tit. 15, §
3312(a)(2). “When misconduct is believed
to be a violation of law or is not minor in
nature, it shall be reported on a CDC Form
115 (Rev.7/88), Rules Violation Report.”
See Cal.Code Regs. tit. 15, § 3312(a)(3).
Petitioner received no 115s.

Petitioner's parole plans at the time of the hear-

ing included residing with his mother in Corona

and an offer of employment as a trainee in the con-
struction field. (Lodgment 3 at 37-39.)

C. Analysis. .

As described above, to support its denial, the
Board cited circumstances relating to the commit-
ment offense, Petitioner's prior criminal history, his
failure to obtain vocational certificates, his insuffi-
cient participation in some “beneficial” self-help
programs (recommending a parenting class and
some additional anger management), his prison dis-
ciplinary record, parole plans that were deemed “a
little bit weak,” the District Attorney's failure to
support release, and a 2001 psychological report
that purportedly stated “a longer period of observa-
tion and evaluation” was required. (/d. at 61-71.)

1. The Commitment Offense.

*9 With respect to the circumstances relating to
the commitment offense, the Board noted that it
was carried out “in an especially cruel and callous

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manner.” (Ud at 61.) The Board supported these
findings on the facts that Petitioner and codefend-
ant Bernich beat the victim to death, and continued
to beat him even after he had dropped the butcher
knife and no longer posed a threat. Ud.) The Board
also mentioned that the motive initially was that it

started as a fight but that when the victim dropped —

the knife and was no longer a threat, “that's when
the fight ended and that's when the, essentially the
assault began.” (/d.) The Board, however, relied on
Petitioner's commitment offense as “some evid-
ence” of unsuitability without proper consideration
of the impact of fourteen years of incarceration on
the reliability of these factors in determining Peti-
tioner's current dangerousness. (/d.)

The Court finds Petitioner's case to be just the
sort of case the Ninth Circuit envisioned in Biggs,
Sass, and Jrons, and that the California Supreme
Court envisioned in Jn re Lawrence: where the
commitment offense is relied on to deny parole not-
withstanding the prisoner's exemplary behavior and
evidence of rehabilitation since the commitment of-
fense.

The crime here was aberrant behavior, and not
part of a pattern of continuing violent criminality.
FNIO See Cal.Code Regs. tit. 15, §§ 2402(d)(6) (no
significant history of violent crime as a suitability
factor). Nor were any of Petitioner's prison discip-
linary actions were for violent behavior. The
. murder, while terrible, was not notably worse than
other second-degree murders. Most importantly,
there was nothing articulated by the Board to sup-
port a nexus between this factor and a conclusion
that Petitioner posed a current risk of violence. In
fact, the evidence was all to the contrary.

FN10. Petitioner's only prior criminal his-
tory was as a juvenile for sale of cocaine, a
non-violent offense. (Pet. Ex. G at 4.); see
also infra, Part VI.C.2.

There are two psychological evaluations in the
record: one completed in 1995, and one in 2001. (
See Pet, Ex. E (“1995 Report” and “2001 Report”).)

Petitioner's 2001 psychological evaluation indicated
a “low probability” that Petitioner would be a
danger to others or society if released. (2001 Report
at 10.) In this forensic psychological evaluation, the
psychologist concluded:

If released to the community, there is a lowered
risk with a related low probability that he would
be a danger to others or society. He does appear
to have matured, both intellectually and spiritu-
ally. It generally appears that his degree of viol-
ence was an isolated event and his history prior to
‘and since being placed in State Prison is other-
wise free of aggressive behavior or violence.
There is one exception, although not proven,
which involves a police complaint of spousal bat-
tery in 1991,

.. The risk of violence typically subsides as in-
dividuals reach their late 30's or early 40's in the
majority of cases. There is only minor concern in
this case that Inmate Nix will perform any acts of
violence in the future due to his increased insight,
awareness: and maturation. Predicting which indi-
viduals will remain violent is clearly difficult to
ascertain without actually releasing the individual
back into society at some risk. However, in this
case the risk appears low.

*10 The risk for future violence in the case of
Inmate Nix is low when compared to other in-
mates based on his score on the Hare PCL-R.
There does not appear to be a substantial risk to
society at this time... There is evidence to sup-
port that in a less controlled setting, such as a re-
turn to the community, he will be able to hold his
current gains... Significant risk factors for re-
offending and precursors to violence are con-
sidered to be significantly low in comparison to
other inmates.

(id. at 11-12, 82 Cal.Rptr.3d 169, 190 P.3d
535.) The psychologist also stated that “[i]t gener-
ally appears that his degree of violence was an isol-

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ated event and his history prior to and since being
placed in State Prison is otherwise free of aggress~-
ive behavior or violence.” (/d. at 11, 82 Cal.Rptr.3d
169, 190 P.3d 535.)

The 1995 psychological evaluation did not
comment on Petitioner's risk of danger to society,
but did opine that Petitioner “does not seem likely
to have any disciplinary problems during his incar-
ceration.” (1995 Report at 2.) That psychologist re-
commended only that Petitioner complete his GED,
continue his work assignment, obtain vocational
training, and attend AA meetings when available. (
Id.)

As noted by the court in /n re Lawrence, the
aggravated nature of the crime itself does not
provide some evidence of current dangerousness
unless the record also establishes that something in
Petitioner's pre- or post-incarceration history, or his
current demeanor and mental state, indicates that
the implications regarding his dangerousness_ that
derive from his commission of the commitment of-
fense remain probative to a determination of a con-
tinuing threat to public safety. Lawrence, 44
Cal.4th at 1214, 82 Cal.Rptr.3d 169, 190 P.3d 535.

With respect to the circumstances of the commit-

ment offense, committed almost fourteen years pri-
or to the hearing, ‘a review of the Board's decision
and the entire record indicates that the Board articu-
lated no nexus whatsoever between those circum-
stances and Petitioner's current dangerousness.

As the Ninth Circuit has noted:

While relying upon petitioner's crime as an indic-
ator of his dangerousness may be reasonable for
some period of time, in this case, continued reli-
ance on such unchanging . circumstances-after
nearly two decades of incarceration and half a
dozen parole suitability hearings-violates due
process because petitioner's commitment offense
has become such an unreliable. predictor of his
present and future dangerousness that it does not
satisfy the “some evidence” standard. After
nearly twenty years of rehabilitation, the ability

to predict a prisoner's future dangerousness based
simply on the circumstances of his or her crime is
nil.

Rosenkrantz v. Marshall, 444 F.Supp.2d 1063,
1084 (C.D.Cal.2006): see also In re Burdan, 169
Cal.App.4th 18, 29, 86 Cal.Rptr.3d 549 (2008). In
Burdan, the court noted that the murder involving
the deliberate shooting of the petitioner's wife mul-
tiple times at close range did not constitute “some
evidence” of an exceptionally callous disregard for
human suffering or that petitioner's release. would
pose an unreasonable risk of danger to society in

. the face of overwhelming evidence of his suitability
- for parole. /d at 36, 86 Cal.Rptr.3d 549. As dis-

cussed by the court, all murders involve some de-
gree of callousness, but the measure of atrocious-
ness is whether the crime was particularly heinous,

‘atrocious, or cruel, /d.

*11 This case is similar to Burdan. Here, the
Board recited the facts of the murders, terming the
circumstances “especially cruel and _ callous.”
(Lodgment 3 at 61.) Pursuant to the California
Code of Regulations, examples of a crime that is

~ especially heinous, atrocious, or cruel include those

with multiple victims, offenses carried out in a dis-
passionate and calculated manner, those in which
the victim was abuse, defiled or mutilated, where
the manner of committing the offense showed an
exceptionally callous disregard for human suffer-
ing, or where the motive was inexplicable or trivial
in relation to the offense. Cal.Code Regs. tit. 15, §
2281(c)(1). None of these factors are present in this
case.

As in Jw re Burdan, it is evident that Petition-
er's crime was “cruel and callous,” and even assum-
ing it was more cruel and callous than the typical
second degree murder because the victim was
beaten even after he had dropped the butcher knife
with which he was threatening Petitioner and co-
defendant Bernich and fallen to the ground, the big-
ger issue is that there still was no evidence cited by
the Board that this determination supported a find-
ing that Petitioner remains a current threat to public

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safety. In the face of overwhelming evidence of Pe-
titioner's rehabilitation in prison and suitability for
parole, exhibited by his lack of serious disciplinary
violations, his participation in NA and other self-
help groups, his educational advancement, his vo-
cational efforts and prison work, and his positive
psychological evaluation, the Court finds that the
unchanging circumstances of the commitment of-
fense do not constitute “some evidence” bearing
“indicia of reliability” to support the conclusion
that Petitioner continues to pose an unreasonable
risk to public safety. Jn re Lawrence, 44 Cal.4th at
1211-12, 82 Cal.Rptr.3d 169, 190 P.3d 535 (there
must be a rational nexus between the facts relied
upon by the Board and the ultimate conclusion of
current dangerousness); see also McQuillion, 306
F.3d at 904; Tash, 2008 WL 3984597, at *12
(finding Governor's, parole reversal based on cir-
cumstances of commitment offense unsupported by
some evidence and arbitrary in light of “the extens-
. ive evidence of Petitioner's in-prison rehabilitation
and exemplary behavior” after 22 years of incarcer-
ation on a 17-year-to-life sentence); Adams, 2008
WL 4224561, at *11 (finding that “petitioner's age,
health, religious beliefs, stable family history and
present relationships, lack of prison disciplinaries
since 1997, commitment to sobriety, and psycholo-
gists' reports demonstrate he no longer poses an un-
reasonable risk to public safety” and that parole res-
cission based on circumstances of commitment of-
fense and criminal record was not supported by
some evidence where petitioner had served fourteen
years past minimum eligible parole date).F§!! Ac-
cordingly, the Board's reliance on the unchanging
circumstances of the commitment offense to deny
parole was not based on “some [relevant and reli-
able] evidence” in the record, and, therefore, does
not support a conclusion that Petitioner is a current
danger to society. _

FNI1. As of the hearing - date, Petitioner
had served more than four years beyond
his minimum eligible parole date.

2. Prior Criminal History.

*12 In support of its denial, the Board found
that Petitioner had failed to profit from’ society's
previous attempts to correct his criminality, and

‘noted that he had spent time at a juvenile ranch and

juvenile hall for sale of cocaine. (Lodgment 3 at
64.) Petitioner's prior criminal record consisted of a
conviction as a sixteen-yearold juvenile for selling
a controlled substance, for which he -was deemed a
ward of the court and sent to Twin Pines Ranch, a
detention facility. (2001 Report at 5.) The Board
did not explain how this minimal prior criminal re-
cord or purported ‘failure to profit” from a stint in
a juvenile detention facility at age sixteen, for a
non-violent offense, was probative of Petitioner's
current dangerousness nearly seventeen years later.

In the face of the evidence of Petitioner's re-
habilitation before the Panel recounted above, the
Court finds that Petitioner's seventeen-year-old
non-violent criminal record did not constitute
“some evidence” of Petitioner's current dangerous-
ness if released. /n re Burdan, 169 Cal.App.4th at
29, 86 Cal.Rptr.3d 549 (“Where one or more
factors are used to support a denial of parole, the
relevant inquiry is whether those factors, when con-
sidered in light of the other factors in the record,
are predictive of current dangerousness of the in-
mate.”) (citing Shaputis, 44 Cal.4th at 1254-55, 82
Cal.Rptr.3d 213, 190 P.3d 573).

3. Prison Disciplinary Record.

In support of its denial, the Board also relied
on Petitioner's post-incarceration disciplinary re-
cord, specifically his most recent 115, received in
2003, almost three years prior to the hearing.
(Lodgment 3 at 66.) With respect to this 115 the
Board stated:

The panel noted that it's administrative [for fail-
ure to report to work], but it's a 115. You need to
get that one a little bit further behind you. I think
you're generally going to find most of the Panels
speak about a five-year period. If you've got that
thing about five years behind you don't reset the
clock, and by resetting the clock get. yourself an-
other one. Let that one continue to get further and

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further behind you to the point where it will no

longer be of any significance... As a result of the.

last 115, the Panel still finds that your gains are
recent and you're going to have to demonstrate an
ability to maintain these over an extended period
of time.

Ud. at 66, 68-69, 82 Cal. Rptr.3d 213, 190 P.3d
573.)

Again, the Board did not explain how this 115,
for a non-violent, admittedly administrative-type
offense, was probative of Petitioner's current dan-
gerousness, As discussed in the 2001 psychological
report, none of Petitioner's disciplinaries during his

.then ten-year incarceration, several of which. in-
volved a failure to report to work similar to the 115
received in 2003, reflected any incident of aggres-
sion, and none were indicative of any specific diffi-
culty accepting authoritarian or strict supervision as
may be needed in the community, (2001 Report at
5, 7.)

Additionally, prior to this 2003 disciplinary ac-
tion, the last 115 was in 1997, nine years before the
hearing and six years before the 2003 action. Just
how or why this 2003 administrative 115 wiped out
any of Petitioner's prior “gains,” resetting the clock
for another five-year period, defies logic and ex-
planation. In fact, the Board's mention of an appar-
ently routinely imposed five-year. penalty period. for
115s, casually imposed by this panel even for a 115
as insignificant as this one, is troubling and indicat-
ive of the lack of thought put into. whether anything
in the pre- and post-incarceration record of this Pe-
titioner actually supported a finding that he is cur-
rently a danger. Such a “penalty” in this case not
only is unsupported by “some evidence,” but the
Court finds that it is entirely arbitrary.

4, Failure to Obtain Vocational Certificates.

'  *13 In support of its denial, the Board stated
that Petitioner definitely would be well-served to
have vocational certificates in his record. They
stated he has “some pieces of vocations,” but needs
to “complete one if it's possible.’ (Lodgment 3 at

65.)

As previously discussed, Petitioner had com-
pleted vocational training in Electrical Work, and in
Air Conditioning and Refrigeration during his in-
carceration. Since the time of the prior hearing, he
had attended training in auto mechanics, mill and
cabinetry, office services, chaplain clerk, and refri-
geration and air conditioning. As he explained to
the Board, however, he was unable to obtain any
completion. certificates because each of those
classes had been shut down. (/d at 41, 82
Cal.Rptr.3d 213, 190 P.3d 573.)

Agaih, the Board panel failed to articulate how
Petitioner stood to benefit from any further voca-
tional programming, or why his extensive participa-
tion in, but inability to complete a vocational pro-
gram due to circumstances outside his control, in-
dicated that he posed a current risk of violence if
released. Since the 2001 parole hearing, Petitioner
had simply stayed on the same productive, rehabil-
itative path he had been on prior-to the 2001 hear-
ing, maintaining prison employment, continuing his .
educational and vocational advancement, and
amassing no significant prison disciplinary reports
or infractions that reflected a need for further re-
habilitation through programming. Thus, the
Board's reliance on Petitioner's failure to obtain any
additional vocational certificates since the 2001
hearing, to the extent this factor was used as a basis
for its unsuitability finding, was not supported by
any evidence having any indicia of reliability.
Rather, it too, was arbitrary. Put another way, there
was no evidence before the Board to support a find-
ing that further vocational training was necessary to
Petitioner's rehabilitation. See In re Singler, 169
Cal.App.4th 1227, 1242, 87 Cal.Rptr.3d 319 (2008)

_ (psychologist opined that inmate was “free from the

customary concerns with regard to public safety,
emotional stability and personal responsibility” and
that limited clinical services were more wisely used
on other prisoners).

Accordingly, the Court finds that Petitioner's
lack of completed .vocational programming since

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_ the last parole hearing did not constitute “some
evidence” of his current dangerousness if released.

5. Self-Help Programming.

In support of its denial, the Board stated that it
was “concerned” that Petitioner had not
“sufficiently participated in some beneficial self
help programs” and recommended two different

programs to him: one a parenting class, and the oth-.

er anger management. (Lodgment 3 at 65.) They
Board went on: ,

[W]e were especially taken today with your ad-
mission about the early difficulties when you had
that domestic violence situation involving parent-
ing skills at that time, and you were young, you
were a lot younger at that time, but the only
[thing] I can tell you is the parent, pressures of
being a parent now are even greater than they
were then. Particularly as they get older and the

skills you're going to need change from parenting.

an infant to parenting a teenager. Big difference.
Big difference.

*14 (/d. at 65-66, 87 Cal.Rptr.3d 319.) |

Preliminarily, the. Board's disingenuous com-
ment that Petitioner had not sufficiently particip-
ated in self-help programs is arbitrary and wholly
without merit. As previously discussed, since the
prior hearing, Petitioner had participated in numer-
ous self-help programming classes: Narcotics An-
onymous (receiving several Certifications of Ap-
preciation), a Life Skills Program. titled “Work,
Education and Business Planning (WEB) from an
Islamic Perspective,” and Breaking Barriers (a pro-
gram which develops “good belief principles, self-
development, and social skills towards corrective
change.”) U/d. at 31-32, 87 Cal.Rptr.3d 319.) Since
1995, he had been conducting religious services for
his fellow Muslim inmates. (/d at 33, 87
Cal.Rptr.3d 319.) In the past, he had completed
programs in Friends Outside National Organization,
Creative Conflicts Resolutions, Business Manage-
ment, .two classes in Parenting Education, two
courses in anger management, and Cage Your

Rage. (/d.; 2001, 87 Cal.Rptr.3d 319 Report at 3.)
For two years, he voluntarily saw a facility therap-
ist in order to better evaluate his own progress.
(Lodgment 3 at 32.) In his 2001 report, the psycho-
logist noted that Petitioner “has worked very hard
on many avenues to self-improvement” and had a
commitment to a clean and sober lifestyle which is
“well ingrained.” (2001 Report at 11.) The psycho-
logist also. reported a “high level of motivation to
continue his education, self-improvement skills,
and vocational skills since entering State Prison.” (
Id. at 3, 87 Cal.Rptr.3d 319.) He opined that even
“in a less controlled setting, such as a return to the
community,” Petitioner would be able to “hold his
current gains,” and went no further than recom-
mending Petitioner maintain involvement in reli-
gious activities, recovery programs as available,
and activities “that-will maintain his deeper insight
and understanding into the factors that led to his vi-
olent Life Crime.” (/d. at 12, 87 Cal.Rptr.3d 319.)

With respect to the “domestic violence situ-
ation” referred to by the Board, Petitioner was hay-
ing relationship problems with his girlfriend in
1991 and “didn't know how to be a father.”
(Lodgment 3 at 44-45.) She left him and took his
infant son with her. He went to her mother's house
to see if her mother would intervene in the relation-
ship and when she would not help, he went into the
house on his own to get his son. (/d. at 45-46, 87
Cal.Rptr.3d 319.) On the way out with his son, his
girlfriend tried to stop him, and he shoved her,
knocking her down. (/d. at 46, 87 Cal.Rptr.3d 319.)
She apparently reported to the police that he struck
her with.a fist and kicked her in the abdomen. (Pet.
Ex. E 2001 Report at 5.) No charges were ever
filed. (/d.) The psychologist noted that “[t]he matter
of the corporal punishment on spouse/cohabitant
was never adjudicated, therefore, is not a useful
factor in determining criminal history.” (/d at 9, 87
Cal.Rptr.3d 319 (emphasis added).) The Court
agrees that this incident does not constitute relevant
or reliable evidence that Petitioner is a current
danger.

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*15 Moreover, the Court fails to see how this
incident even translates into a current need for an
additional parenting class.’“!2 At the time. of the
hearing, the child was sixteen, living with his moth-
er and a stepfather (Lodgment 3 at 7) and, while Pe-

titioner hoped to stay in contact with his son, he .

clearly expressed that he did not want to come
between his son and his stepfather. Vd at 34, 87
Cal.Rptr.3d 319; 2001 Report at 3.) Thus, it is un-
clear how much “parenting” Petitioner would even
be involved in if released. Moreover, there is no in-
dication that Petitioner's son was any sort of a
“problem” as implied by the Board. In fact, Peti-
tioner noted that the boy had won a scholarship for
his grades. (Lodgment 3 at 34.) Nevertheless, while
the Court does not dispute that parenting classes
might be useful for giving any parent some tools for
dealing with a teenage son, there was nothing artic-
ulated by the Board to support a nexus between the
recommendation to take this class and a conclusion
that Petitioner posed a current risk of violence un-
less he did so. ,

FN12. Petitioner had previously completed
two parenting courses. (2001 Report at 3.)

‘The same is true of the Board's recommenda-
tion for “additional work in the area of anger man-
agement” and its gratuitous suggestion that failure
to do additional work in the area of anger manage-
ment might be “an obstacle or a barrier coming
back before the Panel next time.” (/d at 65, 87
Cal.Rptr.3d 319.) There is absolutely no indication
that Petitioner was having any sort of post-
incarceration anger management problems. In fact,
every indication was that he had participated in,
and was currently participating in, a plethora of
programming addressing such issues which had led
to deeply ingrained insight and self-control. (2001
Report at 6, 7, 8, 9, 10, 11, 12.) While additional
anger management programming could almost cer-
tainly do no harm, there certainly was nothing artic-
ulated by the Board to support a nexus between the
“recommendation” to take this class and a conclu-
sion that Petitioner posed a current risk of violence

or would be found unsuitable for parole at the next
hearing simply by failing to obtain additional anger
management or parenting programming.

Again, there was no releant or reliable evidence
before the Board to support a finding that further
anger management or parenting programming was
necessary to Petitioner's rehabilitation. See /n re
Singler, 169 Cal.App.4th at 1242, 87 Cal.Rptr.3d
319 (psychologist opined that inmate was “free
from the customary concerns with regard to public
safety, emotional stability and personal responsibil-
ity” and that limited clinical services. were more
wisely used on other prisoners).

6. Parole Plans.

The Board found Petitioner's parole plans to be
“a little bit weak ... in that we've got year old let-
ters.” (Lodgment 3 at 67.) It noted that the employ-
ment offer had not been confirmed in the most re-
cent letters received by the Board. (/d.) The Board
encouraged Petitioner to come back next time with
“fresh letters” of support, particularly from family,
detailing nearby AA/NA resources, who will help
with transportation, information on public trans-
portation routes if needed, whether there is help and
assistance available from people involved in his
faith, and the location of the closest place of wor-
ship. (/d.)

*16 There does not appear to be any reason to
suggest that Petitioner's parole plans. were any dif-
ferent or less viable in 2006 than they had been
when documentation was prepared for the 2004
hearing which was continued by stipulation. Nor is
the Court convinced the Board was using this reas-
on to deny parole. Even if it was a reason for the
denial of parole, the Board's reasoning again fails to
create a nexus between the allegedly incomplete de-
tails and whether Petitioner is currently a danger to
society. Moreover, the information the Board found
incomplete or lacking can easily be supplemented
prior to release,

7. District Attorney's Failure to Support Release.
In support of its denial, the Board fleetingly

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mentioned that the “3042 notices resulted in an ap-—

‘pearance from a representative from the District At-
‘torney's Office. You heard him indicate opposition

to the granting of parole, but I also hope you also

heard that there was some compliments that were
also presented to you for your consideration.” Ud.
at 68, 87 Cal.Rptr.3d 319.)

At the hearing, the District Attorney noted that
“[w]ith the passage of time some of the aggrievial-
ities [sic] of what life used to be like for him have
been blurred though and I think Mr. Nix needs to
spend some more time dealing with that in order to

‘continue his rehabilitation.” (Ud at 54, 87

Cal. Rptr.3d 319.) Not only is this statement virtu-
ally nonsensical, there is no evidence to support
what appears to bea reference to Petitioner's in-
sight into the crime-a factor not even considered by
the Board in its denial. If referring to Petitioner's
insight into the crime, the psychologist's report con-
firms that Petitioner is deeply insightful about his
prior actions. (2001 Report at 12.) The District At-
torney also compares Petitioner's account of the
“domestic violence incidence” with the account his
girlfriend gave police, and commented that the in-
cident “deals with the inmate's ability to control his
temper and his anger when dealing with others and
_ his violence.” (Lodgment 3 at 55.) He also dis-
cussed in detail.the commitment offense itself, stat-
ing:

[Petitioner] needs to confront this ugly reality
that when he continued that attack when this guy
was down on the ground, he was killing this
guy... And he needs to confront that and he
needs next time he walks in here to be able to ex-
press those feelings ...
little bit more richly and [I think he'll be that
much more closer to parole.

(/d.) Again, there is no evidence that Petitioner
did not already understand that his actions were
reprehensible and that he felt remorse for what he
had done indeed, all of the relevant evidence was to
the contrary. (See 2001 Report at 11 (“He has fully
accepted the magnitude of his criminal culpability

a little bit better and a’

from the time of his arrest and has since developed
a deeper insight and understanding as to what led
him to such brutal behavior.”).)

Although unclear whether the Board was rely-
ing on the District Attorney's opinion to support its
denial of parole, a review of that opinion shows that
it does nothing more than “mirror” the Board's de-
cision anyway, relying primarily on the commit-
ment offense and on the unsubstantiated details of
the long-ago domestic violence incident. For the
reasons noted above, these factors are not relevant
and reliable evidence that Petitioner is a current
danger.

8. Psychological Evaluation.

*17 In support of its denial, the Board noted
that the 2001 psychological report was “a little bit
dated,” and stated that they had asked for a new

_psychological exam to be completed before the next

hearing. (Lodgment 3 at 66-67.)

A panel's request for a new psychiatric evalu-
ation may be viewed by the California courts as a
“sham” particularly where the record ably supports,
as it does here, that Petitioner has been found not to
be a danger to society. See In re Ramirez, 94
Cal.App.4th 549, 571, 114 Cal.Rptr.2d 381 (2001),
disapproved on other grounds by. In re Dannen-
berg, 34 Cal4th 1061, 23 Cal.Rptr.3d 417, 104
P.3d 783 (2005). The only intervening fact between
the 2001 report and the 2006 hearing was the ad-
ministrative 115 for refusing to report to work, an
infraction for which Petitioner had previously re-
ceived disciplinary actions and which the psycholo-
gist found not to be significant as an indication for
aggression or violence. (2001 Report at 5, 7, 1.)
Thus, any new report would add little to Dr. Lille's
comprehensive and thorough 2001 report.

The Board also inexplicably stated that the psy-
chologist in his 2001 report indicated “a longer
period of observation and evaluation would be ap-
propriate, therefore a longer period of observation
and evaluation's going to be required before the
Board could find that you're suitable for parole.”

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(Lodgment 3 at 70.) The Court has reviewed the
2001 report and finds nothing even remotely resem-
bling this statement. In fact, Dr. Lille's report is
highly supportive of Petitioner's success in the
community and low risk of danger if he were to be
released.

Accordingly, the factors cited by the Board re-
lating to the 2001 psychological report do not con-
stitute relevant and reliable evidence that Petitioner
"was a current danger if released.

D. The State Court's Denial of Petitioner's Habeas
Petition Was an Unreasonable Application of
Clearly Established Federal Law.

The superior court denied Petitioner's habeas
petition using a check mark form. (Lodgment 5.) It
‘checked the portions of the form that found a denial
for failure to state a prima facie case, makes asser-
tions regarding applicable law that are contrary to
established California case decisions, and failure to
raise any new issues not previously addressed in an
earlier writ petition. (/d.) The California Court of
Appeal and the California Supreme Court both
denied Petitioner's claims without comment or cita-
tion to authority: (Lodgments 7, 9.) A denial of re-
lief without comment or citation constitutes a deni-
al on the merits. Hunter v. Aispuro, 982 F.2d 344,
347-48 (9th Cir.1992). Because, as here, no state
court supplied a reasoned decision, this Court per-
. formed an “ ‘independent review of the record’ to
ascertain whether the state court decisions were ob-
jectively unreasonable.” Hines v. Thompson, 336
F.3d 848, 853 (9th Cir.2003) (quoting Delgado v.
Lewis, 223 F.3d 976, 982 (9th Cir.2000)).

Because there was no reliable and relevant,
evidence before the 2006 Board panel supporting
its conclusion that Petitioner's release posed an un-
reasonable risk to public safety, the Court finds that
(a) the Board's decision resulted in.an arbitrary
deprivation of Petitioner's liberty interest in parole
and violated due process, and (b) the State courts’
determination to the contrary was based on an.un-
reasonable determination of the facts in light of the
evidence presented and involved an unreasonable

application of the “some evidence” standard.

VII.
RECOMMENDATION

*18 IT THEREFORE IS RECOMMENDED

that the District Court issue an Order: (1) approving
and adopting this Report and Recommendation; and
(2) directing that Judgment be entered granting a
writ of habeas corpus as follows: The Board shall
find Petitioner suitable for parole at a hearing to be
held within 30 days of the finality of this decision,
unless new, relevant and reliable evidence of her
conduct in prison or change in mental status sub-
sequent to the September 11, 2006, parole consider-
ation hearing is introduced that is sufficient to sup-
port a finding that Petitioner currently poses an un-
reasonable risk. of danger to society if released on
parole; FN!3 and in the absence of any such new
relevant and reliable evidence showing Petitioner's
unsuitability for parole, the Board shall calculate a
prison term and release date for Petitioner in ac-
cordance with California law. Further, if the release

-date already has lapsed, ‘Respondent shall, within

ten days of the Board's ‘hearing, either release Peti-
tioner forthwith if his release date lapsed more than
three years earlier, or release Petitioner on parole
for that period of her three year parole term that re-
mains if the release date lapsed less than three years
earlier.

FN1I3. See, eg, Milot v. Haws, No.
08-3814-SGL (RNB), 2009 WL 1606657,

at *4 n. 3 (C.D.Cal. June 8, 2009) (noting |

that “the futility of remanding a parole
case for ‘re-review’ when the habeas court
already has reviewed the evidence and
found it insufficient to sustain an unsuitab-
ility finding has not escaped the state or
federal courts” and citing cases); see also
In re Rico, 171 Cal.App.4th 659, 89
Cal .Rptr.3d 866 (2009) (directing Board to
conduct a new parole suitability hearing
within thirty days and to find petitioner
suitable for parole “unless either previ-
ously undiscovered evidence or new evid-

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ence subsequent to the 2007 parole hear-
ing, regarding his conduct, circumstances,
or change in his mental state, supports a
determination that he currently poses an
unreasonable risk of danger to society if
released on parole”); In re Gaul, 170
Cal.App.4th 20, 87 Cal-Rptr.3d 736 (2009)
(directing Board to hold new hearing with-
in 30 days of finality of decision and to
find inmate suitable for parole unless new
evidence of conduct or change in mental
state after 2007 parole consideration hear-
ing is introduced and is sufficient to sup-
port a finding of current dangerousness),
In re Singler, 169 Cal.App.4th at 1230, 87
Cal.Rptr.3d 319 (2008) (where, as here,
petitioner had never before been found
suitable, court remanded for further - pro-
ceedings to hear any motions relevant to
defendant's plea and, if appropriate, hold a
new sentencing hearing); see also In re
Vasquez, 170 Cal.App.4th 370, 387, 87
Cal.Rptr.3d 853 (2009) (reversing Gov-
ernor's decision overturning Board's parole
grant and reinstating Board's parole release
order); Jn re Aguilar, 168 Cal.App.4th
1479, 1491, 86 Cal.Rptr.3d 498 (2008)
(reversing Governor's decision’ overturning
parole grant, reinstating Board's parole re-
lease date, and ordering inmate released
forthwith pursuant to conditions set forth
in Board's 2005 decision finding inmate
suitable for parole).

C.D.Cal.,2009.

Nix v. Hartley

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Westlaw,

Not Reported in F.Supp.2d, 2008 WL 4224561 (E.D.Cal.)

(Cite as: 2008 WL 4224561 (E.D.Cal.))

Hi

Only the Westlaw citation is currently available.

United States District Court,
E.D. California.
Benjamin ADAMS, Petitioner,

Vv. ;
Teresa SCHWARTZ, Warden, Respondent.

No. CIV 8-05-2237 JAM JFM P.
Sept. 12, 2008.

David M. Porter, Office of the Federal Defender,
Sacramento, CA, Marylou Elin Hillberg, Marylou
Hillberg, Attorney at Law, Sebastopol, CA, for Pe-
titioner.

Krista Leigh Pollard, California Attorney General's
Office, Sacramento, CA, for Respondent.

FINDINGS AND RECOMMENDATIONS

JOHN F. MOULDS, United States Magistrate Judge.

*] Petitioner is a 69 year old state prisoner pro-
ceeding through counsel with an application for. a
writ of habeas corpus pursuant to 28 U.S.C. § 2254.
Petitioner also suffers myriad medical ailments: he
is a brittle diabetic (DOJ001844) ™!' and has hy-
pertension, chronic hepatitis C viral infection, bilat-
eral lower extremity venous insufficiency second-
ary to an old gunshot wound (DOJ001841), chronic
low back pain and an allergy to sulfonamides.
(DOJ001873.) On March 4, 2008, petitioner's coun-
sel notified the court that petitioner had been dia-
gnosed with prostate cancer, but had not yet re-
ceived treatment. (Docket No. 40.)

' FNI, On May 28, 2008, respondent lodged
the administrative record. (Docket No. 54.)
Citations are to the page numbers Bates

stamped on the bottom right hand corner of
each page. (For example, “DOJ001844.”)

Petitioner is serving a sentence of life with the

Page |

possibility of parole, following his 1984 conviction
on charges of kidnaping for robbery, robbery, and
attempted robbery. Petitioner challenges the April
10, 2003 decision of the California Board of Parole
Hearings (Board) to deny him a parole date. Peti-
tioner contends that he was deprived of a constitu-
tionally protected liberty interest because there was
no evidence to support the Board's decision to res-
cind the 2002 grant of parole and there is no evid-
ence that petitioner's release will unreasonably en-
danger public safety.

On April 15, 1996, a superior court judge ap-
pointed counsel for petitioner, and, in granting the
state petition for writ of habeas corpus, ordered the
Board to set aside its December 21, 1995 unsuitab-
ility finding, stating:

The record before this court reflects that Petition-
er has done all that prior panels have asked him
‘to do. He has realistic goals upon release and a
supportive family. By ignoring all positive
factors, the factual basis upon which to find Peti-
tioner unsuitable for parole was skewed against
his favor. There simply is no evidence to. support
the [Board's] finding that Petitioner would pose

an unreasonable risk of harm. In finding Petition- |

er unsuitable for parole, the court finds that the
[Board] abused its discretion.

(April 15,.1996 Order, appended to Petition as
Ex, B at 42; DOJ001789-93.) (Judge Silver.) Des-
pite Judge Silver's order, petitioner was denied pa-
role at the subsequent parole consideration hearing.

Since the initial denial, despite Judge Silver's
order, a classification score of zero, the absence of
any prison disciplinary conviction after 1997,FN2
multiple psychologist's conclusions, that petitioner
presents a low potential for violence, a stable and
supportive family, an offer of employment in the
family business, completion of a certified vocation
in 1995, consistently good work reports, participa-

‘tion in Narcotics Anonymous and numerous reli-

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gious activities, petitioner, a licensed minister and
grandfather of two, who suffers multiple health is-
sues, has been denied parole’ at nine subsequent pa-
role consideration hearings from 1989 through
2003, since he was initially denied parole in 1988.

. FN2. During his almost 24 years of incar-
ceration, petitioner has had three disciplin-
ary convictions, all of which were 115s re-
ceived before 1997. (Answer, Ex. 5 at 15.)

‘For the reasons set forth below, this court finds
that the rescission of petitioner's parole was not
supported by even the minimal quantum of evid-
ence required to satisfy the requirements of the fed-
eral due process clause. Moreover, the rescinding
Board's 2003 decision to rescind parole for another
year, as well as their failure to parole petitioner
over five years later, makes manifest and inescap-
able the conclusion that no purpose will be served
in remanding this matter for another parole consid-
eration hearing or setting a parole date. It is there-
fore the recommendation of this court that respond-
ent be directed to release petitioner forthwith on pa-
role.

PROCEDURAL BACKGROUND

*2 In 1984, petitioner was found guilty after a
jury trial of robbing two men and attempting to rob
a third on separate occasions. As to one victim, pe-
titioner was found guilty of both robbery and kid-
naping for purposes of robbery and sentences were
imposed on both counts. The trial court imposed
two-year sentence enhancements under Penal Code
§ 12022.1 because petitioner committed the addi-
tional crimes while he was free on bail after his -ar-
rest for the first robbery. Petitioner appealed, and
his case was remanded for re-sentencing on Decem-
ber 17, 1985. On April 5, 1990, petitioner was sen-
tenced'to life with the possibility of parole for the
kidnaping for robbery, plus one year for the weapon
enhancement, five years for one count of robbery,
and eight months for the attempted robbery.
(Answer, Ex. 1.) The court stayed the sentence on
the other robbery count. Petitioner was received in
state prison on April 24, 1984. (D0J0000880.)

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After appeal and re-sentencing, petitioner was
sentenced to life with the possibility of parole. At
the time of the commitment offenses, petitioner was
forty-six years old, and appeared to suffer a drug
addiction.’“? Petitioner was not convicted of in-
flicting bodily injury on any of the victims. Jd. Pri-
or to this conviction, petitioner had no juvenile re-
cord, but he had an extensive criminal record.

FN3. A copy of the probation report is in-
cluded in Exhibit 3 to the Answer.

On April 1, 1996, a hearing was held on peti-
tioner's state habeas petition challenging the
December 1995 denial of parole. Jn re Application
of Benjamin Adams, Case No. HC 2809 (April 16,
1996) (DOJ001789). The state court noted that peti-
tioner's prior petition had come before that court in
November 1994. /d. The prior state court petition

_was denied on December 27, 1994, Based on a min-

imum factual basis to support the Board's findings,
the court found respondent had not abused its dis-
cretion in finding petitioner unsuitable for parole.
Id. However, the state court indicated that “if peti-
tioner was again found unsuitable for parole, the
court would consider setting the matter for hear-
ing.” Jd.

Petitioner filed a Petition for Peremptory Writ
of Mandate on December 29, 1995, The state court
construed this filing as a petition for writ of habeas
corpus and set the matter for hearing on April 1,
1996. (/d., DOJO01790.) As noted above, Judge Sil-
ver found the Board abused its discretion’ in deny-
ing petitioner parole in 1995 as “[t]here simply is
no evidence to support the [Board's] finding that
Petitioner would. pose an- unreasonable risk of
harm.” (/d., DOJ0O01793.) Judge Silver ordered re-
spondent to set aside its December 21, 1995 de-
cision finding petitioner unsuitable for parole and
hold a new suitability hearing within thirty days. (
Id.)

Petitioner filed another petition for writ of
habeas corpus in state court, but that petition was
denied as unexhausted. /m re Application of Ben-

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jamin Adams, Case No. HC 3028 (September 22,
1997) (D0J000685.)

On April 2, 2004, petitioner filed a petition for
writ of habeas corpus in the Los Angeles County
Superior Court challenging the 2003 rescission of
parole. (Answer, Ex. 7.) The Superior Court upheld
- the rescission of parole, finding that the granting
panel failed to adequately discuss the nature of the
commitment offenses, merely incorporating by ref-
erence a statement of facts from prior transcripts,
and did not consider all of petitioner's prior crimin-
al convictions. In re Benjamin Adams, Case No.
BH002706, Los Angeles County Superior Court,
September 17, 2004 (Answer, Ex. 9).

*3 On October 5, 2004, petitioner filed a peti-
tion with the California Supreme Court. (Answer,
- Ex. 10.) On August 15, 2007, that petition was
denied with a citation te People v, Duvall, 9 Cal.4th
464, 474, 37 Cal.Rptr.2d 259, 886 P.2d 1252 (1995)
. (Answer, Ex, 9.)

Petitioner filed the instant action on January 6,
2005 in the Northern District of California. The
case was transferred here on November 4, 2005.

Petitioner has served 14 years beyond his min-
imum eligible parole date of 1994,7™ and was
denied parole at nine subsequent parole considera-
tion hearings before he was granted parole at the
2002 Board hearing.

FN4, The date was calculated as May 11,
1994 (DOJO00709; DOIJ000833) or
November 8, 1994 (DOJ000830).

ANALYSIS
I. Standards for a Writ of Habeas Corpus
Federal habeas corpus relief is not available for
any claim decided on the merits in state court pro-
ceedings unless the state court's adjudication of the
claim:

(1) resulted in a decision that was contrary to, or
involved an unreasonable application of, clearly
established Federal law, as determined by the Su-

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preme Court of the United States; or

. (2) resulted in a decision that was based on an
unreasonable determination of the facts in light of
the evidence presented in the State court proceed-
ing.

28 U.S.C. § 2254(d),

Under section 2254(d)(1), a state court decision -
is “contrary to” clearly established United States
Supreme Court precedents if it applies a rule that
contradicts the governing law set forth in Supreme
Court cases, or if it confronts a set of facts that are
materially indistinguishable from a decision of the
Supreme Court and nevertheless arrives at different
result. Early v. Packer, 537 U.S. 3, 7, 123 S.Ct.
362, 154 L.Ed.2d 263 (2002) (citing Williams v.
Taylor, 529 U.S. 362, 405-406, 120 S.Ct. 1495, 146
L.Ed.2d 389 (2000)).

Under the “unreasonable application” clause of
section 2254(d) (1), a federal habeas court may
grant the writ if the state court identifies the correct

- governing legal principle from the Supreme Court's

decisions, but unreasonably applies that principle to
the facts of the prisoner's case. Williams, 529 U.S.
at 413. A federal habeas court “may not issue the
writ simply because that court concludes in its inde-
pendent judgment that the relevant state-court de-
cision applied clearly established federal law erro-
neously or incorrectly. Rather, that application must
also be unreasonable.” /d. at 412; see also Lockyer
v. Andrade, 538 U.S. 63, 75, 123 S.Ct. 1166, 155
L.Ed.2d 144 (2003) (it is “not enough that a federal
habeas court, in its independent review of the legal
question, is left with a ‘firm conviction’ that the
state. court was ‘erroneous.’ ”) The court looks to
the last reasoned state court decision as the basis
for the state court judgment. Avila v. Galaza, 297

- F.3d 911, 918 (9th Cir.2002),

Il, Petitioner's Claims ;
Petitioner alleges his “federal rights to due pro-

cess of law were violated by the rescission of his

parole which had been granted by the [Board] on a

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proper finding of suitability for parole based upon
substantial evidence.” (November 16, 2006 First
Amended Petition.)

A. “Some Evidence”

*4 In the context of the rescission of parole,
“[t]he process that is.due before a‘prisoner can be
deprived of such an interest is a showing that there
is ‘some evidence’ in the record to support a later
rescission of that date.” McQuillion, 306 F.3d at 898.

The last reasoned rejection of this claim is the
decision of the Los Angeles County Superior Court
on petitioner's petition for writ of habeas corpus.
The state court rejected this claim as follows:

Even after parole is granted, the Board is au-
thorized to rescind the grant of parole for good
cause after a rescission hearing. ( Caswell, supra,
at 1026, 112 Cal.Rptr.2d 462.) ™ “Cause” in-
cludes new information indicating parole should
not occur or fundamental errors which resulted in
the improvident grant of parole. ( Caswell, supra,
at 1026, 112° Cal.Rptr.2d 462; see Cal.Code
Regs., tit. 15, § 2451.) However, cause for rescis- -
sion is not limited to those grounds enumerated
in California Code of Regulations, title 15, sec-
tion 2451, and can also be found where the grant-
ing panel has failed to adequately consider the
gravity of the prisoner's convictions. ( Caswell, -
“supra, at 1026-27, 112 Cal.Rptr.2d 462.) “When
the granting panel misstated facts or explicitly
declined to consider information germane to the
gravity of the crimes, it can fairly be said that
reasonable minds could differ on whether the
panel gave adequate consideration to the severity
of the crimes.” (/d. at 1029, 112 Cal.Rptr.2d 462
.) In those cases, there is “some evidence” of the
panel's failure to consider the gravity of Petition-
er's offense, justifying rescission of the parole re-
lease date. Ud.) The rescission panel is required
to articulate specific facts or cite express omis-
sions of the granting panel, in rescinding a parole
date. (/d. at 1031, 112 Cal Rptr.2d 462.)

 

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FNS. Jn re Caswell, 92 Cal.App.4th 1017,
1026-27, 112 Cal.Rptr.2d 462 - (2001)
(Board found good cause to rescind the
grant of parole based on the gravity of the
offense and the prisoner's minimization of
his role in the offense.

The rescission panel reviewed the granting
panel's record with regard to the gravity of the
life offense. The record established that the grant-
ing panel, rather than read a description of the
life crime into the record, merely incorporated by
reference a statement of facts taken from prior
transcripts. (See April 10, 2003 Parole Hearing
Transcript, at 13 and 18.) The rescission panel
characterized the discussion of the life crime as
an “exchange” between the panel and Petitioner,
rather than any official rendition of the events. (_
id. at 18.) The granting panel's summary of the
facts was limited to “it was three different events
basically .. Aldon Doolittle, who was 72, Sher-
man Elsberry, and Paul Singer ... you used a fire-
arm and you kidnapped and robbed some elderly
victims.” (/d. at 13-15.)

The record with regard to the granting panel's
review of Petitioner's criminal history, estab-
lished that the granting panel “incorporated” Peti-
tioner's adult arrest record, including his personal
and social history, by way of an October 1995
Board report. (See April 10, 2003 Parole Hearing
Transcript, supra, at 41 .) Additionally, the grant-
ing panel discussed some of Petitioner's prior
convictions, but not all. (/d at 42.) The rescission
panel found at least nine prior convictions that
were not even mentioned during the April 2003
hearing. (/d.)

*5 The rescission panel's findings that good
cause existed to rescind Petitioner's parole date
are supported by “some evidence.” ( Caswell,
supra, 92 CalApp.4th 1017, 1026-27, 112
Cal.Rptr.2d 462.)

Accordingly, the petition is denied.

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(Un re Benjamin Adams, Case No. BH002706
(September 17, 2004 Los Angeles County Superi-
or Court) (Answer, Ex. 9.) .

The Board is the executive agency authorized
to grant parole and set release dates for prisoners
serving life sentences, and in certain circumstances
it may rescind an unexecuted grant of parole, (
Cal.Penal Code, §§ 3040, 3041.) Section 3041 of
the California Penal Code provides prisoners sen-
tenced in California to a state prison term that
provides for the possibility of parole with “a consti-
tutionally protected liberty interest in the receipt of
a parole release date, a liberty interest that is pro-
tected by the procedural safeguards of the Due Pro-
cess Clause.” /rons v. Carey, 479 F.3d 658, 662
(9th Cir.2007) (citing Sass v. California Board of
Prison Terms, 461 F.3d 1123, 1128 (th Cir.2006);
Biggs v. Terhune, 334 F.3d 910, 914 (9th Cir.2003);
McQuillion y. Duncan, 306 F.3d 895, 903 (9th
Cir.2002); and Bd. of Pardons vy. Allen, 482 U.S.
369, 377-78, 107 S.Ct. 2415, 96 L.Ed.2d 303
(1987) (quoting Greenholtz v. Inmates af Neb. Pen-
al & Corr, Complex, 442 U.S. 1, 12, 99 S.Ct. 2100,
60 L.Ed.2d 668 (1979)).) California law requires
that the Board “determine whether a prisoner is
presently too dangerous to be deemed suitable for
parole based on the ‘circumstances tending to show
unsuitability’ and the ‘circumstances tending to
show suitability’ set forth in Cal.Code. Regs., tit.
15 § 2402(c)-(d).” /rons, 479 F.3d at 662-63. The
rons court described the regulations as follows:

[T]he circumstances tending to show that a pris-
oner is unsuitable include: (1) the. commitment
offense, where the offense was committed in “an
especially heinous, atrocious or cruel manner”;
(2) the prisoner's previous record of violence; (3)
“a history of unstable or tumultuous relationships
with others”; (4) commission of “sadistic sexual
offenses”; (5) “a lengthy history of severe mental
problems related to the offense”; and (6) “serious
misconduct in prison or jail.” Cal.Code. Regs.,
tit. 15 § 2402(c). Circumstances tending to show
that a prisoner is suitable for parole include: (1)

the prisoner has no juvenile record; (2) the pris-
oner has experienced reasonably stable relation-
ships with others; (3) the prisoner has shown re-
morse; ... (6) the prisoner lacks any significant
history of violent crime; ... (8) the prisoner “has
made realistic plans for release or has developed
marketable skills that can be put to use upon re-
lease”; (9) “[i|nstitutional activities indicate an
enhanced ability to function within the law upon
release.” Cal.Code. Regs., tit. 15 § 2402(d),

Id. at 663 n. 4.

It has been clearly established by the United
States Supreme Court “that a parole board's de-
cision deprives a prisoner of due process with re-
spect to this interest if the board's decision is not’
supported by ‘some evidence in the record,’ Sass,

461 F.3d at 1128-29 (citing Superintendent v. Hill,

472 U.S. 445, 457, 105 S.Ct. 2768, 86 L.Ed,2d 356
(1985)); see also Biggs, 334 F.3d at.915 (citing Mc-
Quillion, 306 F.3d at 904), or is “otherwise arbit-
rary,” Hill, 472 U.S. at 457, 105 S.Ct. 2768, 86
L.Ed.2d 356.” /d. at 662. The main concern in de-
termining parole suitability is public safety. /n re
Dannenberg, 34 Cal.4th 1061, 1080, 1084, 1085,
1086, 23 Cal.Rptr.3d 417, 104 P.3d 783 (Cal.), cert.
denied, 546 U.S, 844, 126 S.Ct. 92, 163 L.Ed.2d
109 (2005) (“the overriding statutory concern” is
for public safety; purpose of the statutes is to
“guarantee that the Board has fully addressed the
public safety implications” of. the release determin-
ation).

*6 Rescission of a prisoner's parole does not
violate due process so long as “some evidence”
having “some indicia of reliability” “supports the
decision.” McQuillion, 306 F.3d at 904 (quoting
Superintendent v, Hill, 472 U.S, 445, 456, 105 S.Ct.
2768, 86 L.Ed.2d 356 (1985)) Petitioner's
“argument that the rescinding panel did not base its
decision on any evidence raises questions of fact
that requires examination of both the granting pan-
el's and rescinding panel's decisions.” Caswell v.
Calderon, 363 F.3d 832, 839 (9th Cir.2004)
(citation omitted).FN6 _

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FN6. Rescission may be based on (1) the
prisoner's disciplinary conduct; (2) his psy-
chiatric deterioration; (3) “[f]undamental
errors” during the hearing at which parole
was granted; or (4) new information indic-
ating parole should not occur. Cal.Code
Regs., tit. 15, § 2451, subds. (a)-(d). Cause
for rescission is not limited to § 2451; pa-
role may be rescinded if the granting panel
failed to adequately consider the gravity of
the prisoner's convictions. /n re Steven
Caswell, 92 CalApp4th 1017, 112
Cal.Rptr.2d 462 (Ist  Cir.Cal.2001).
However, “a rescission may not be upheld
merely because the Board has mouthed
words that have been held to constitute
“cause” for rescission. There must also be
an adequate ‘factual underpinning for the
Board's determination of cause.’ ” /d, 92
Cal.App.4th 1027, citation omitted.

The reasoning in McQuillion v. Duncan, 306
F.3d 895 (9th Cir.2002) is on point here. Courts
“must apply the federal due process standard an-
“nounced by the Supreme Court in Hi//, Courts miust
determine whether the ‘rescission panel had “some
evidence” to support its finding of “good cause” to
rescind [petitioner's] parole.” McQuillion, 306 F.3d
at 906. Thus, the court will address each of the
three “good cause” grounds set forth by the rescind-
ing panel to determine if there was “some evid-
ence” supporting any of those grounds, as well as
the state court's order concerning those grounds.

1. Failure of the Granting Panel to Adequately Con-
sider Gravity of the Offenses

On April 10, 2003, the Board reviewed the
2002 decision and found good cause to rescind the
parole date based on the commitment offenses:

1. Gravity of commitment offenses. The gravity of
the commitment offense[s] was given insufficient
weight by the granting panel, noting in addition,
the prisoner clearly minimized his role in these
crimes, The three (3) victims were kidnapped for
robbery. Two (2) victims were confronted by the

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prisoner wielding a knife. The granting panel in- .
corporated by reference the statement of facts
from the hearing of September 6, 2001, pages 6
through 20. Here the victims' names were men-
tioned and the fact there were three different vic-
tims. In referencing the September 6, 2001 tran-
script, the panel members mentioned that the
prisoner used a firearm and kidnapped, robbed
elderly victims. The prisoner responded “yes” to
victims being elderly, however, stated later that
there was no weapon involved. He then contra-
dicted this when he stated, “Yes, I used a,
weapon.” The panel did not examine in detail the
prisoner's continued minimization of the three
separate: crimes or the contradictions in prisoner's
statements. The granting panel did not go into the
specifics of the crimes sufficiently enough to
consider the gravity of the commitment of-
fense[s]. We find good cause.

(Answer, Ex, 2.) The state court found the
granting panel failed to read the facts of petitioner's

commitment offenses into the record. (Answer, Ex.
9.)

The state court relied on the rescinding Board's
view that the granting panel failed to adequately
consider the gravity of the commitment offenses.
However, there was sufficient information before
the Board to demonstrate that the facts of the com- .
mitment offenses were known to and considered by
the Board. Specifically, the 1995 Life Prisoner
Evaluation Report, incorporated by the granting
panel, set forth the commitment offenses as fol- lows:

*7 Offense summary: On May 22, 1983, at ap-
proximately 5:45 p.m. when [petitioner] ap-
proached Sherman Elsbury requesting help to
start his vehicle, [petitioner] stated that his bat-
tery was dead. Sherman Elsbury agreed to help
him. As Sherman Elsbury gave [petitioner] a ride,
[petitioner] told Sherman Elsbury that he had a
45 Caliber weapon’ in his pocket. The victim
gave him his wallet. The subject fled the vehicle,
Sherman Elsbury observed the subject entering a

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Lincoln Continental with Arizona plates. He re- .
ported this to the police. The police observed
[petitioner] in the Lincoln Continental and took
[petitioner] into custody. The victim identified
[petitioner] as the assailant. On May 24, 1983, at
approximately 11:15 am., Paul Singer was ap-
proached by [petitioner] who asked if he had
jumpe[r] cables. Paul Singer replied he did not .

' have any and was forced into his vehicle at knife
point. The victim was forced to drive to North
South Alley on 20th Street. Subject took $280.00.
On May 28, 1983, at approximately 12:45 p.m.,
the same arresting officers observed [petitioner]
on Pacific Avenue talking to an elderly gentle-
man. The officers overheard [petitioner] asking
- Alden Doolittle for assistance in starting his car.
When the officers approached Doolittle and
[petitioner], [petitioner] immediately indicated
that he was working for Doolittle. Mr. Doolittle
immediately indicated that he never saw the sub-
ject before.

(Answer, Ex. 6.) The state court faulted the
granting panel for choosing to incorporate facts
from prior transcripts “rather than read. a descrip-
tion of the life crime into the record” and failed to
set forth “any official rendition of the events.”
However, neither the state court nor the rescinding
panel explained how the failure to read facts known
to petitioner and the Commissioners into the record
demonstrate the granting Board failed to adequately
consider the commitment offenses. Both the state

’ court and the rescinding Board noted that the grant-
ing panel discussed with petitioner the fact that
there were three separate offenses, with three separ-
ate, elderly victims, and identified the victims by
name, Neither the state court nor the rescinding
Board explained what facts should have been in-
cluded or how any of the omitted facts demonstrate
the granting panel failed to adequately consider the
commitment offenses. There is no evidence here
that the granting panel “misstated facts or explicitly
declined to consider information germane to the
gravity of the crimes.” /a re Caswell, 92
Cal. App.4th at 1029, 112 Cal. Rptr.2d 462,

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Rather, the granting panel's decision makes |
clear the panel was familiar with petitioner's com-
mitment: offenses:

The basic term of ... confinement ... would be the
base life offense of which the prisoner has been
convicted is kidnap for robbery, Penal Code Sec-
tion 209(B). The offense occurred on May the
24th of 1983. The term is derived from the matrix
located in the CC & R Title 15, and that would be-
22-Penal Code Section 2282(C), kidnap for rob-
bery. The Panel finds that Category Al ... is the
appropriate category in that there was minor
movement of the victim, ... minor injury or un-
harmed to the victim as well... He received no
injuries in his-your attack on him ... in that par-
ticular case... So, the base assessment would be
144 months for the base offense noted. This
would be the aggravated term, and the aggravated
because of the age of the victims, all of the vic-
tims were elderly men.... And then for the adjust-

. ment for weapons, a deadly weapon, we gave you
six months.

*8 (Answer, Ex. 5 at 47-48.) -

Although the state court did not address this is-
sue, the rescinding panel made much of petitioner's
alleged contradiction concerning use of a weapon.
However, the alleged contradiction concerning use
of a weapon took place during the 2001 Board hear-
ing. The record reflects that petitioner dispelled any
contradiction in the 2002 hearing by admitting he
used a deadly weapon in the commission of the in-
stant offenses. Commissioner Moore asked petition-
er about his claim in the 2001 parole hearing that he
did not have a weapon. (Answer, Ex. 5, at 8.) Peti-
tioner declined to revisit that “controversy,” but ac-
cepted responsibility for the crimes and apologized.
(Ud) Before Commissioner Moore referred to the
2001 hearing, petitioner affirmatively answered the
Commissioner's question, “you used a deadly
weapon to kidnap and rob the elderly victims and in
an attempt to support your drug habit, heroin?” Vd.
at lines 5-9,) Petitioner also admitted he committed
crimes against three different, elderly victims. °

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(Answer, Ex. 5 at 8, lines 1-4; 9, lines 5-8.) FN’

FN7. The rescinding Board also incorrectly
recited the facts of the commitment of-
fenses. The rescinding Board stated: “Two
(2) victims were confronted by the prisoner
wielding a knife.” (Answer, Ex. 2 at 3.)
However, the probation report reflects that
during the first criminal act, on May 22,
1983, petitioner “indicated he had a .45
caliber weapon in his pocket.” (Answer,
Ex. 3 [docket no. 42-4 & 5 .] ) During the
May 24, 1983 crime, petitioner forced the
victim into the vehicle at knife point. (/d)
During the May 28, 1983 crime, a police
officer intervened before the crime could
be completed and there is ho mention of
the use of a weapon at all. (/d.) On direct
appeal, the state appellate court did not
mention use of a knife as to the third
charge. People v. Adams, 175 Cal.App.3d
at 855, 221 Cal.Rptr. 298. Although the
prosecution included allegations petitioner
used a dangerous and deadly weapon in all
three counts, petitioner was convicted with
only one count of use of a knife (Count 6).
(Answer, Ex. 3.) Petitioner was not con-
victed of use of a firearm. (/d.)

These facts surrounding the three differ-
ent incidents might explain petitioner's
alleged contradiction during the 2001
hearing. Perhaps petitioner should be
credited for ultimately acknowledging he
used a weapon, “Yes, I used a weapon,”
rather than viewed as contradicting him-
self during the 2001 hearing.

The fact that the granting Board considered pe-

titioner was not convicted of inflicting bodily injury.

on any of the three victims and noted the “minor
movement of the [kidnapping] victim” (Answer,
Ex. 5 at 48), demonstrates that the Board ad-
equately considered the gravity of petitioner's com-
mitment offenses, even if the granting Board did

not read the details of petitioner's commitment of- _

fenses into the record. The granting panel specific-

ally found that petitioner's. commitment offenses
were a result of significant stress based on his ad-
diction to heroin, which apparently mitigated the
weight of petitioner's commitment offenses, partic-
ularly given his long-term sobriety in prison. These
findings also demonstrate the granting panel ad-
equately considered the gravity of petitioner's com-
mitment offenses.

The court presumes “that the panel considered
all of this evidence that was squarely before it.”
McQuillion, 306 F.3d at 906. Given the brief good
cause statement on this ground, as well as the state
court's emphasis on a simple failure to read facts in-
to the record, this court finds that the rescinding
panel's “good cause” finding on this issue was not
supported by “some evidence.” While it is apparent
the rescinding panel disagreed with the granting
panel's decision, such disagreement does not mean
that the granting panel failed to adequately consider
the evidence before it.

2. Failure of the Granting Panel to Adequately Con-
sider Prior Criminal History

' On April 10, 2003, the Board also found good
cause to rescind the parole date based on petition-
er's criminal history:

2. Criminal history. The prisoner's history was
not sufficiently addressed by the granting panel.
They incorporated by reference his criminal his-
tory and cited the 1995 Board Report as the
source document. That report does not reflect an
accurate description of the prisoner's criminal.
history. Commissioner Moore had discussed the
history at the September 6, 2001 hearing,
(Deputy Commissioner Cassady was not at the
2001 hearing.) However, he failed to mention at
least eight convictions, did not address the bench
warrants or parole violations. When there was
discussion of criminal history, the prisoner min-
imized his record. The granting panel's omissions
were sufficient to warrant a finding of good cause.

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*9 (Answer, Ex. 2.) The state court found the
granting panel incorporated petitioner's adult arrest
record, including personal and social history, and
failed to discuss or mention at least nine prior con-
victions. (Answer, Ex. 9.) The state court relied on
the rescinding Board's view that the granting panel
failed to adequately consider petitioner's criminal
history.

However, the record reflects that Commission-
er Moore discussed petitioner's criminal history at
the 2001 Board hearing. Although Commissioner
Cassady was not at the 2001 hearing, Commission-
er Moore stated at the beginning of the 2002 hear-
ing that “[w]e've reviewed [petitioner's] Central
Files and [his] prior transcript.” (Answer, Ex. 5, at
3.) Thus, the granting panel had reviewed petition-

er's criminal history recounted at the 2001 Board.

hearing. In addition, petitioner's central file was re-
plete with references to his lengthy criminal record.
For example, in 1988, one Board member referred
to petitioner's sixteen page rap sheet and convic-
tions spanning a 22 year period. (DOJ0000884.)
During the 1995 Board hearing, a Board member
stated petitioner had over forty arrests,
(DOJ000845.) The fact that petitioner had a lengthy
criminal history prior to his commitment offenses
was information readily accessible in petitioner's
central file to each Board member prior to the 2002
parole hearing. In fact, Commissioner Cassady
noted petitioner's “extensive prior arrest record for
drug related offenses” (Answer, Ex. 5 at 23) while
relating Dr. Collins’ clinical assessment. Commis-
sioner Cassady also referred to petitioner's
“extensive arrest and conviction record which
spanned three decades,” including grants of proba-
tion six times and grants of parole twice. (/d. at 29.)

The 1995 Life Prisoner Evaluation Report also
contained the most serious convictions, including
the 1965 conviction for misdemeanor assault with a
deadly weapon, and the narcotics possession and
influence convictions for which petitioner was
placed in drug treatment, jail and prison (twice).
The omitted convictions were primarily possession

or influence of controlled substance convictions.
There was one conviction for petty theft (1968) and
one for shoplifting (1982). None of the omitted
convictions changed the picture presented by the
1995 report-petitioner had a lengthy criminal his-
tory of crimes fairly typical of a person addicted to
illegal drugs, and he had previously served time in
drug rehabilitation, jail and prison. Neither the state
court nor the rescinding Board explained how the
failure of the Commissioners to read a list of each
conviction or arrest demonstrates the granting panel
failed to adequately consider petitioner's lengthy
criminal history, particularly in light of all the evid-
ence of his criminal history set forth in the 2001
transcript, the 1995 Life Prisoner Report, and the
central file.

In addition, other than the 1983 commitment
offenses, the only violent offense was petitioner's
June 10, 1965 arrest for assault with a deadly
weapon and disturbing the peace; he was convicted
of these misdemeanor offenses on August 24, 1965,
38 years prior to the rescinding Board's 2003 de-
cision.*’8 The arrests and convictions during the
interim eighteen year period were primarily drug-
related: possession and/or use of narcotics and/or
controlled substances and theft to fund his drug ad-
diction,

FN8. Petitioner was sentenced to a $110.00
‘fine / 10 days in jail. (Answer, Ex. 4, at 3.)

*10 Similarly, in discussing petitioner's crimin-
al history, the rescinding Board failed to consider
that most of petitioner's criminal history was due to
a serious drug addiction. This court finds that it was
unreasonable for the rescinding Board to disregard
the granting panel's decision concerning petitioner's
criminal history simply because the granting panel

failed to recite every conviction, bench warrant, pa-

role violation and arrest, particularly given the
length of petitioner's criminal history as well as the
length of time that had passed since petitioner last
committed a crime or sustained a prison disciplin-
ary. The commitment offenses occurred in 1983;
petitioner's last serious prison disciplinary occurred

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in 1997, None of petitioner's prison disciplinaries
involved violence and few. of petitioner's prior con-
victions involved violence.

Neither the state court nor the rescinding panel
pointed to misstated facts or evidence demonstrat-
ing that the granting panel “explicitly declined to
consider information germane,” Jn re Caswell, 92
Cal.App.4th at 1029, 112 Cal.Rptr.2d 462, to peti-
tioner's criminal history. Petitioner's lengthy crim-
inal history was known to the granting panel and
well-covered in the materials provided to the grant-
ing Board prior to the 2002 hearing. The court pre-
sumes “that the panel considered all of this evid-

' ence that was squarely before it.” McQuillion, 306 -

- F.3d at 906. Thus, this court finds that the rescind-
ing panel's “good cause” finding on this issue was
not supported by “some evidence.” Although the
rescinding panel may have disagreed with the
granting panel's decision, that disagreement does
not demonstrate the granting panel failed to ad-
equately consider the evidence before it. ©

3. Petitioner Minimized His Crimes

The state court did not address the rescinding
Board's finding that petitioner had minimized his
crimes. Accordingly, the court reviews this claim
de novo.

A review of the record reflects that petitioner
has accepted responsibility for his crimes, has not
just become’a Christian, but became a licensed min-
ister, who preaches to other prisoners. In an ad-
dendum to the September 1996 psychiatric evalu-
ation, petitioner “expressed his regret for that
[criminal] lifestyle and said that he has become a
Christian now and wants to devote his life to the
service of others.” (Bruce M. Bakeman, Ph.D.,
DOJ000956.) In 1993, petitioner also expressed re-
egret for his crimes. (DOJ000957.)

This was made clear at the 2002 hearing as
well. Petitioner expressed remorse for the crimes,
stating he was sorry for what happened, and that he
has tried to give back to the community by minis-
tering to young prisoners about the hazards of drug

abuse and helping handicapped and elderly prison-
ers. Petitioner even wrote a letter of apology to one
of his victims. The record does not reflect that peti-
tioner minimizes his crime; rather, the record
demonstrates that petitioner understands his crimes
were primarily drug-related and is committed to an
effort to help others avoid the same fate. Petitioner
has remained disciplinary free since 1997, and has
sustained no prison disciplinariés for violent beha-
vior during his entire incarceration, demonstrating |
petitioner's commitment both to a nonviolent life-
style as well as to his sobriety. Petitioner, as well as
psychologists and other prison staff, recognizes that
petitioner's crimes were: drug-related; such recogni-
tion does not mean that petitioner is minimizing his °
criminal history or his commitment offenses. This
court finds that the rescinding Board's characteriza-
tion that petitioner “minimized” his crime was not
based on some evidence in the record.

*11 Moreover, a prisoner's refusal to admit par-
ticipation in the crime on matters of conflicting
evidence does not necessarily constitute unsuitabil-
ity for parole or mandate rescission. Cal.Code
Regs., tit, 15; § 2236. “A prisoner may refuse to
discuss the facts of the crime in which instance a
decision shall be made based on the other informa-

‘tion available and the refusal shall not be held

against the prisoner.” /d. Respondent has failed to
provide any legal authority for the proposition that
petitioner's alleged minimization of his involve-
ment in the commitment offenses is sufficient to —
warrant rescission, particularly where the record re-
flects petitioner has accepted responsibility for the
commitment offenses and demonstrated remorse.

4, Conclusion

A review of the record fails to reveal any evid-
ence in support of the rescinding Board's conclu-
sion that the grant of parole: was improvidently
granted for failure to consider the gravity of the
commitment offenses, petitioner's criminal history
or the alleged minimization of his crimes. Rather,
the record demonstrates that the granting panel
gave great weight to the other factors of suitability,

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FN found petitioner presented no danger to the
public safety, and minimized the weight of petition-
er's commitment offenses and criminal history
based on his underlying drug addiction. The grant-
ing panel expressly stated petitioner's “commitment
offense was a result of significant stress based on
his addiction to heroin.” Indeed, the récord before
this court shows facts congruent with those de-
scribed by Judge Silver in 1996, justifying pétition-
er's release twelve years ago.

FN9. For example, a classification score of
zero, the absence of any prison disciplinary
conviction after 1997, multiple psycholo-
gist's conclusions that petitioner presents a
low potential for violence, a stable and
supportive family, an offer of employment
in the family business, completion of a cer-
tified vocation in 1995, consistently good
work reports, and participation in Narcot-
ics Anonymous and numerous religious
activities.

Accordingly, the state courts' rejection of this
claim was contrary to controlling principles of
United States Supreme Court authority. Petitioner is
entitled to relief under 28 U.S.C. § 2254(d) because
the rescission of parole was not supported by “some
evidence” and the state court's decision was an un-
reasonable application of federal law. Petitioner's
first claim for relief should be granted.

B. Present Danger

Petitioner also argues there is no evidence to -

demonstrate he remains an unreasonable risk of
danger to society or a threat to public safety based
on the following:

* Petitioner has no juvenile record, his adult
criminality was linked to his addiction to heroin,
he has spent years in prison in recovery through
Narcotics Anonymous and religious counseling,
and his only other crime of violence was an as-
sault with a deadly weapon in 1965.

* Petitioner has a stable family history with

strong family ties to his brothers who have
offered him shelter and employment in the family
business.

* Petitioner is deeply religious and is a licensed
minister who plans to reach out to those who
might succumb to addiction and criminality.

* Petitioner is 69, a brittle diabetic and remorseful
for his actions. Petitioner's last prison disciplin-
ary was in 1997,

(Traverse at 2.)

*12 Respondent denies the commitment of-
fenses and petitioner's criminal ‘history have lost
their predictive value and are no longer evidence of
petitioner's current risk of danger to society.
(Answer at 4.) Respondent argues that the United
States Supreme Court has “endorsed the concept
that ‘[p]revious instances of violent behavior are an
important indicator of future violent tendencies.’ ”
(Answer at 11, quoting Heller v. Doe by Doe, 509
U.S. 312, 323, 113 S.Ct. 2637, 125 L.Ed.2d 257 ©
(1993) [internal citations omitted], FNiorNn

FN10. California courts have noted con-
flicting opinion in this regard: “a large
number of legal and scientific authorities
believe that, even where the passage of
time is not a factor and the assessment is
made by an expert, predictions of future
dangerousness are exceedingly unreliable.
[Citations omitted.] According to a Task
Force of the American Psychiatric Associ-
ation, “[nJeither psychiatrists nor anyone
else have demonstrated an ability to pre-
dict future violence or. dangerousness.
(Am.Psych.Assn., Task Force Report 8,
Clinical Aspect of the Violent Individual
(1974) at p. 28, 221 Cal.Rptr. 298.) As our
Supreme Court has also noted, ‘the same
studies which proved the inaccuracy of
psychiatric predictions [of dangerousness]
have demonstrated beyond dispute the no
less disturbing manner in which such

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prophecies consistently err: they predict
acts of violence which will not in fact take
place (‘false positives'), thus branding as
‘dangerous’ many persons who are in real-
ity totally harmless. [Citation.]’ “[Citation
omitted.] /n re George Scott, 133
Cal.App.4th 573, 595 n. 9, 34 Cal.Rptr.3d
905 (1st Dist.2005).

FN11. Heller is distinguishable because it
was addressing the involuntary commit-
ment of mentally retarded individuals who
suffer from ‘a permanent, relatively static
condition.” Heller, 409 U.S. at 323. Unlike
the individuals addressed in Heller, crim-
inals can be rehabilitated.

The state court did not address whether peti-
tioner posed a current risk of danger to society;
thus, the court will review the record de novo.

Under California law, parole may be denied if |
the Board “determines that the gravity of the cur-
rent convicted offense or offenses, or the timing
and gravity of current or past convicted offense or
offenses, is such that consideration of the public
safety requires a more lengthy period of incarcera-
tion for [the] individual .” California Penal Code §
304 1(b). However,

[a] prisoner's commitment offense may constitute
a circumstance tending to show that a prisoner is
presently too dangerous to be found suitable for
parole, but the denial of parole may be predicated
on a prisoner's commitment offense only where
the Board can “point to factors beyond the min-
imum elements of the crime for which the inmate
was committed” that demonstrate the inmate will,
at the time -of the suitability hearing, present a
danger to society if released. [In re] Dannenberg,
34 Cal.4th [1061] at 1071, 23 Cal.Rptr.3d 417,
_ 104 P.3d 783 (Cal.2005). Factors beyond the
minimum elements of the crime include, inter
alia, that “[t]he offense was carried out in a dis-
passionate and calculated manner,” that “[t]he of-
fense was carried out in a manner which demon-

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strates an exceptionally callous disregard for hu-
man suffering,” and that “[t]he motive for the
crime is inexplicable or very trivial in relation to
the offense.” Cal.Code. Regs., tit. 15 § 2402(c)(1)
(B), (D)-(E).

rons, 479 F.3d at 663. “Regardless of. the
length of time served, a life prisoner shall be found
unsuitable for and. denied parole if in the judgment
of the panel the prisoner will pose an unreasonable
risk of danger to society if released from prison.”
Cal.Code Regs. tit. 15 § 2281(a).

Recently, the California Supreme Court’
provided clarification of the “some evidence”
standard to be-employed by state courts reviewing
denial of parole decisions:

because the paramount consideration for both the
Board and the Governor under the governing stat-
utes is whether the inmate currently poses a
threat to public safety, and because the inmate's
due process interest in parole mandates a mean-
ingful review of a denial-of-parole decision, the
proper articulation of the standard of review is
whether there exists “some evidence” that an in-
mate poses a current threat to public safety,
rather than merely some evidence of the exist-
ence of a statutory unsuitability factor.

*13 In re Richard Shaputis, 44 Cal.4th 1241, -
-- Cal.Rptr.3d ----, 190 P.3d 573, 2008 WL

3863608 at *7 (Cal.), citing /n re Lawrence, 44
Cal.4th 1181, 2008 WL 3863606 at 2 (Cal.).

There is simply no evidence in this record to
demonstrate that petitioner “constitutes a current
threat to public safety.” /n re Lawrence, at *7;
lrons, 479 F.3d at 663; see also In re Rosenkrantz,
29.Cal.4th 616, 682-83, 128 Cal.Rptr.2d 104, 59
P.3d 174 (Cal.2002), cert. denied, 538 U.S. 980,
123 S.Ct. 1808, 155 L.Ed.2d 669 (2003) (“[t]he
nature of the prisoner's offense, alone, can consti-
tute a sufficient basis for denying parole” but might
violate due process “where no circumstances of the

' offense reasonably could be considered more ag-

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gravated or violent than the minimum necessary to
sustain a conviction for that offense”),

“[D]Jue consideration” of the specified factors re-
quires more than rote recitation of the relevant
factors with no reasoning establishing a rational
nexus between those factors and the necessary
basis for the ultimate decision-the determination
of current dangerousness. “It is well established
that a policy of rejecting parole solely upon the
basis of the type of offense, without individual-
ized treatment and due consideration, deprives an
inmate of due process of law.”

In re Lawrence, at *7, quoting Rosenkrantz, 29
Cal.4th at 684, 128 Cal.Rptr.2d 104, 59 P.3d 174.

Here, although petitioner had an extensive
criminal history, it was not particularly violent. Pe-
titioner had one conviction for misdemeanor assault
' with a deadly weapon in 1965; then, in 1983, was
convicted of using a knife during a kidnaping for
robbery. Petitioner was not convicted of inflicting
bodily injury on. the victim. Indeed, petitioner was
not convicted of inflicting bodily injury on any of
the victims in the commitment offenses. As noted
above, petitioner's criminal history was primarily
drug-related, and was not marred by the type of vi-
olence often found in the histories of inmates
serving life sentences.

Moreover, while prior violent behavior may be
an important indicator of future violent tendencies,
the passage of time and efforts undertaken by the
prisoner during that time, reduces the predictive
value of those early violent tendencies. Petitioner
had benefit of rehabilitation by education, employ-
ment, Narcotic's Anonymous (“NA”), religious
conversion and good conduct for nineteen years be-
fore the Board rescinded his parole in 2003.

The psychologists' reports also demonstrate pe-
titioner's low threat of danger to public safety, On
June 11, 2002, Gary Collins, Ph.D., assessed peti-
tioner's level of dangerousness as follows:

His extensive prior arrest record for drug-related
offenses implied that he would be a poor candid-
ate for rehabilitation. However, his behavior
within prison for several years and the content of
‘his behavior when other reporters have spoken
with him refute that negative point of view.

Conditions for changes which have reduced this
man's violence potential to a low level in the
writer's opinion include:

*14 A. Age.

B. Years of apparent abstinence from addicting
drugs.

C. The development of a positive philosophy or-
ganized around religious concepts.

’ D, Better self-esteem through teaching of values
imbedded in his religious beliefs.

E. No sign of psychiatric disorder.

F. More capable functioning than psychological
testing had implied would be possible.

G. Family support and employment if paroled.
(DOJ001622.)

In the October 18, 1999 psychosocial evalu-
ation, Dean J. Clair, Ph.D., noted petitioner was not
a “dangerous” person.’!? Petitioner's classifica-
tion score had been zero since at least 1993, and

FN12, Dr. Clair acknowledged petitioner |
was found to be “manipulating staff’ in
1996 and had received a number of 128
writeups based on “his being occasionally |
resistive and cantankerous in his dealings
with staff.” (DOJ000950; 1544.)

[aJt age 60 and with several potentially debilitat-
_ ing medical problems, this man would face living
out his remaining days in prison if he were re-
sponsible for even a minor felony. His own
words were, “I'm never never going to return to

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prison!”

(DOJ000950; 1544.) In the August 27, 1998 Psy-
chological Evaluation, Robert Wagner, Ph.D.,
concluded petitioner's “potential for violence is

very low and would most likely hold if paroled.”

(DOJ000954; 1546.)

On April 3, 1997, Steven J. Terrini, Ph.D., per-
formed a psychological evaluation and concluded
that “given [petitioner's] greater maturity, his Chris-
tian orientation (which appears to be genuine) and
his lack of CDC-115s, his violence potential is es-
timated to be below average relative to this inmate
population at this time.” (D0J001124.)

In 1996, Bruce M. Bakeman, Ph.D., concluded
petitioner “continues to be emotionally stable, and
if released, should present no danger to the general
population.” (D0J000956; DOJ000992.)

On June 17, 1993, Bruce M. Bakeman, Ph.D.,
performed a psychiatric evaluation, and stated if pe-
titioner were released, “he should be able to main-
tain these gains, provided he avoids alcohol and il-
licit drugs.” (DOJ000958.) “If he is considered for
parole, his level of dangerousness should be less
than for the average inmate.” (/d.) In the 1991 psy-
chiatric evaluation, Dr. S.J. Falkenstein, M.D., con-
cluded that “[i]Jn a less controlled setting, such as
return to the community, [petitioner] is considered
likely to continue improvement,” and “[vJiolence
potential outside a controlled setting in the past is
considered to have been less than average and at
present is estimated to be the same.” (DOJ000959;
DOJ1783; DOJO00707.) On October 6, 1988, in pe-
titioner's first psychological evaluation, V.L.
McGaughran, Ph.D. concluded that:

There is an indirect relationship between the dia-
gnosed psychopathology and the instant. offense.
Previous violence potential would have been
rated as above average. That potential has been
decreased and currently would be rated as aver-
age for this population. At this time there is no
clinical indications for psychotherapeutic pro-
gramming,

(DOJ000961.)

_ The California Code of Regulations also calls
for consideration of a prisoner's behavior before,
during and after the commitment offense as well as
any treatment programs that a prisoner has attended

' or continues to attend. While petitioner's drug abuse

prior to the offenses and conduct during the of-
fenses do not weigh in favor of parole suitability,
his exemplary conduct since his incarceration does.
Petitioner has not received a rules violation report
since 1997,FNi3

FNI3. Petitioner has received three 115s
during his entire incarceration, none of
which were for violent behavior. His last
disciplinary conviction was in 1997 for in-
tentional manipulation of staff in an effort
to negate his work assignment. (DOJ000390.)

*15 While the record is clear that there was a
strong causal connection between petitioner's use of
heroin and his commitment offenses and criminal
history, his past use of heroin does not by itself
reasonably establish current unsuitability because
there is no additional evidence to complete a chain
of reasoning between his past drug use and a find-
ing that because of it he currently poses an unreas-
onable risk of danger if released. In other words, in
the absence of some evidence to support a reason-
able belief that petitioner might start using heroin
again, the fact that he was addicted to heroin more
than 20 years ago does not by itself represent some
evidence that he is currently dangerous.

Moreover, here the record does not contain any
evidence to support reasonable grounds to believe
petitioner might start using heroin if released. There
is no evidence that petitioner's former desire for
heroin might still be present. The record reveals
that he has been clean and sober for a substantial
period of time. There is no evidence that he re-
fused, failed, or did poorly in NA. And there is no
evidence that petitioner ever used any type of illicit
substance or alcohol during his incarceration.

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“[A]lthough the state expects prisoners to behave
well in prison, the absence of serious misconduct in
prison and participation in institutional activities
that indicate an enhanced ability to function within
the law upon release are factors that must be con-
sidered on an individual basis by the Governor in
determining parole suitability.” Jn re Rosenkrant:,
29 Cal.4th 616, 682, 128 Cal.Rptr.2d 104, 59 P.3d
174 (Cal. 2002).

Although an addiction to heroin may have been
the root cause of petitioner's commitment offenses
and criminal history, that addiction alone does not
constitute some evidence that petitioner might start
using drugs and become violent again, and there-
fore that he currently poses an unreasonable risk of
danger if paroled. Indeed, if petitioner's past use of
heroin established this unsuitability, the Board
could deny parole for the rest of petitioner's life
based on this unchanging factor, without regard to
subsequent evidence that petitioner has no current
desire for heroin and that there is little current like-
lihood of drug relapse, let alone a return to violent
conduct as a result of it, At the time of his commit-
ment offenses, petitioner was estranged from his
- family. Petitioner now has the support of his fam-

ily, with an offer of housing and employment |

awaiting his release,

By the 2003 rescission hearing, petitioner had
been denied parole at.nine subsequent parole con-
sideration hearings before he was granted parole at
' the 2002 Board hearing, after he had served nine-
teen years. (He has now been in custody for twenty-
four years.) Petitioner's classification score has
been zero since at least 1993 .FNi4

FN14. Petitioner's classification score was
101 in 1985 (DOJO00352), 22 on February
2, 1988 (DOJ000351), and reduced to 4 on
June 20, 1990 (DOJ000348).

Unlike the petitioners in Biggs, Sass and Irons,
petitioner has served 14 years beyond his minimum
eligible parole date of 1994,

*16 The instant case is similar to Jn re
Lawrence in that the commitment offenses and
criminal history were repeatedly relied on to deny
parole notwithstanding petitioner's exemplary beha-
vior and evidence of rehabilitation since the com-
mitment offenses. Here, petitioner's age, health, re-
ligious beliefs, stable family history and present re-
lationships, lack of prison disciplinaries since 1997,
commitment to sobriety, and psychologists’ reports
demonstrate he no longer poses an unreasonable
risk to public safety. In light of the extensive evid-
ence of petitioner's in-prison rehabilitation and ex-
emplary behavior, the reliance on the unchanging
facts of the commitment offenses and criminal his-
tory to deny petitioner parole for the tenth time,
twenty-four years after the commitment offenses,
violated his right to due process. “The ‘some evid-
ence’ standard .provides more protection than
against fabricated charges or bureaucratic mistakes;
the ‘some evidence’ standard also protects against
arbitrary decisions. See Hill, 472 U.S, at 454-55,
457.” Tash v. Curry, 2008 WL 3984597 at *7
(N.D.Cal.). The rescinding panel's failure to de-
termine whether petitioner's commitment offenses
and criminal history demonstrated petitioner posed
a present danger to society constituted an unreason-
able application of Hill, Jd. The petition should be

_ granted.

In accordance with the above, IT IS HEREBY
RECOMMENDED that:

1. Petitioner's application for a writ of habeas
corpus be granted; and

2. Respondents be directed to release petitioner
on parole forthwith.

‘These findings and recommendations are sub-.
mitted to the United States District Judge assigned
to the case, pursuant to the provisions of 28 U.S.C.
§ 636(b)(1). Within ten days after being served with

_ these findings and recommendations, any party may

file written objections with the court and serve a
copy on all parties. Such a document should be cap-
tioned “Objections to Magistrate Judge's Findings

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and Recommendations.” The parties are advised
that failure to file objections within the specified
time may waive the right to appeal the District
Court's order. Martinez v. Yist, 951 F.2d 1153 (9th
Cir.1991),

E.D.Cal.,2008,

Adams v. Schwartz a
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(E.D.Cal.) .

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